      Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 1 of 45



108-043.13-002                                                   Meeting of September 17, 2013

INFORMATIONAL MEMORANDUM

TO:           Community Investment and Infrastructure Commissioners

FROM:         Tiffany Bohee, Executive Director

SUBJECT:      To update the Commission on (I) the overall financial performance of the
              Fillmore Heritage Center at the corner of Fillmore and Eddy Streets, including the
              recent bankruptcy filing by Yoshi's San Francisco, and (2) the repayment history
              of tenant improvement loans associated with several businesses on Fillmore Street


PURPOSE OF INFORMATION

The purpose of this Informational Memorandum is to update the Commission on (I) the overall
financial performance of the Fillmore Heritage Center at the corner of Fillmore and Eddy Streets,
including the recent bankruptcy filing by Yoshi's San Francisco, and (2) the repayment history
of tenant improvement loans associated with several businesses on Fillmore Street.

The Fillmore Heritage Center is an $80.5 million public-private partnership that includes 80
condominiums, about 50,000 square feet of commercial space, and a 112-space public parking
garage. Of that $80.5 million, about 35% ($28.4 million) was financed using public funds from
the City and County of San Francisco (the "City") and the former San Francisco Redevelopment
Agency (the "SFRA"). The public investment of dollars built the public parking garage and the
commercial space, which was intended to help revitalize the lower Fillmore Street commercial
corridor. The SFRA also contributed the land, and allowed the developer to pay the purchase
price for the land over time. Part of the public investment included two tenant improvement
loans from the SFRA to the two tenants in the commercial space: (I) Yoshi's San Francisco, a
28,000-square-foot jazz club and restaurant, and (2) Food for Soul, which operates a 6,300-
square-foot restaurant/music lounge known as "1300 on Fillmore."            These two tenant
improvement loans total about $ I 0.4 million. The Fillmore Heritage Center is the focus of this
memorandum.

In addition, the SFRA approved two other tenant improvement loans to two other businesses on
Fillmore Street. One is with Agonafer Shiferaw, who owns a building at 1534-40 Fillmore Street
that formerly housed Rasse!as Jazz Club, and the other is with Sheba Lounge, which leases space
across the street from the Fillmore Heritage Center to operate a restaurant/music lounge. These
two tenant improvement loans total about $ 1.6 million. These loans are discussed in further
detail at the end of this memorandum.


DISCUSSION

As mentioned above, the Fillmore Heritage Center can be divided into three components: (!) the
residential units, which were entirely privately financed, (2) the commercial space, which was
       Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 2 of 45
108-043.13-002                                                                           Page 2

financed with both private and public funds, and (3) the public parking garage, which was
entirely publicly financed. Each of these components is discussed in more detail below.

   •    Residential Units. The Fillmore Heritage Center includes 80 condominiums, including
        12 affordable condominiums. The construction of these units was completely privately
        financed with about $35 million from a pension fund. No public dollars went into the
        residential component of the Fillmore Heritage Center. All the units have been sold to
        individual homeowners, and the proceeds were used to pay back the private construction
        lender and the SFRA for a portion ($3.5 million) of the $6.6 million land value. The
        condo owners operate a homeowners' association, which manages the residential space, a
        separate residential garage, and the common areas within the Fillmore Heritage Center
        (the "HOA"). All the condo owners pay common area maintenance fees to the HOA.

   •   Commercial Space. The Fillmore Heritage Center also includes about 50,000 square
       feet of commercial space on the ground floor of the building. The City financed the
       construction of the commercial space. To do this, the City, acting through the Mayor's
       Office of Housing ("MOH"), borrowed $5.5 million from the U.S. Department of
       Housing and Urban Development ("HUD") in the form of a securitized Section I 08 loan,
       which is backed by the City's federal Community Development Block Grant ("CDBG")
       fund allocation (the "HUD Loan"). The City then gave these federal dollars to Fillmore
       Development Commercial ("FDC"), an affiliate of the developer, Fillmore Development
       Associates ("FDA"), in the form of a construction loan, so that FDC could build the
       commercial space (the "FDC Loan"). The SFRA also contributed about $ I 0.4 million in
       loan funds for the tenant improvements.

       OCII owns the commercial space and master leases the entire 50,000 square feet under a
       ground lease to FDC. The ground lease structure was used as a financing mechanism to
       allow the developer to pay the $6.6 million purchase price for the land over time instead
       of in one lump sum upfront (explained in more detail later in this memorandum). FDC,
       as master tenant, subleases the commercial space to two tenants: (I) Yoshi's San
       Francisco, and (2) Food for Soul. These subtenants pay rent and common area
       maintenance fees to FDC, who is supposed to (a) pass the rent through to the City as a
       debt service payment on the FDC Loan, and (b) pass the common area maintenance
       payments through to the HOA. This process has not been happening on a regular basis.
       FDC is about $ 1.4 million in arrears on the FDC Loan with the City (which is explained
       more fully below) and about $120,000 behind on its common area maintenance payments
       to the HOA. A copy of the HOA's July I 8, 2013 letter to District 5 Supervisor London
       Breed is attached as Attachment I.

       FDC is required to pay the common area maintenance charges under its ground lease with
       OCII, however, OCII is ultimately liable for these charges, as owner of the commercial
       space, under a separate project document. OCII is paying the outstanding amount to the
       HOA with reserve balances authorized under OCII's Recognized Obligations Payment
       Schedule III and 13~14A, both approved by the Oversight Board and the State
       Department of Finance ("DOF"). Staff has asked for new property tax funds to cover
       some common area maintenance payments going forward (in the event the space
       currently occupied by Yoshi's San Francisco doesn't generate enough income to pay
       Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 3 of 45
I 08-043.13-002                                                                            Page 3


       them) on OCII's Recognized Obligations Payment Schedule 13-14B, which still needs
       approval from the Oversight Board and DOF.

   •   Public Parking Garage. The Fillmore Heritage Center also includes a 112-space public
       parking garage. The SFRA financed the construction of this garage using $5.6 million in
       tax exempt bond proceeds. The SFRA also used about $860,000 in federal grant funds
       for site preparation/environmental remediation. OCII still owns the garage and operates
       it through a garage management agreement with a private garage operator. The garage
       also pays common area maintenance fees to the HOA. The garage's performance is very
       dependent on the performance of the commercial tenants in the Fillmore Heritage Center.
       Currently, the garage is running a deficit of about $2,000 a month on average, which is a
       significant improvement from just three years ago, when the average deficit was about
       $8,000 a month. The improvement can be attributed to better management, lower
       personnel costs, and improved marketing. Staff has asked for new property tax funds to
       cover the expected deficit, along with replenishment of the garage's operating and capital
       reserve, on OCII's Recognized Obligations Payment Schedule 13-14B, which still needs
       approval from the Oversight Board and DOF.

In sum, the public investment went into the land, site preparation, the public parking garage, and
the commercial space. The SFRA contributed the land, which was valued at about $6.6 million,
and accepted a payback plan on the purchase price of the land over time ($3.5 million has been
paid to date). The SFRA contributed an additional $5.6 million in grant funds for garage
construction. And about $1_6 million in SFRA/City loan funds went into building the
commercial space. These investments are explained in more detail below.

Investment by the City and County of San Francisco (the "City")

As mentioned, in an effort to finance the construction of the commercial space, the City
borrowed $5.5 million from HUD (the "HUD Loan") and then loaned that money to FDC to
build the commercial space (the "FDC Loan"). The HUD Loan is fully amortized at an interest
rate of 5.54% with semi-annual interest payments and annual principal payments due through
August 2025. MOH has no ability to alter the terms of the HUD Loan. The FDC Loan is fully
amortized at an interest rate of 6.54% with monthly payments due through August 2025. Under
this structure, FDC makes its debt service payments to the City using rental income from the
commercial space, and then the City uses that money to make its debt service payments to HUD.
However, because FDC has missed about $1 .4 million in payments to the City since 2005, the
City has had to find other money (i.e., CDBG funds used to serve the City's low- and moderate-
income residents) to make its debt service payments to HUD. The City's loan is secured by a
deed of trust on FDC's leasehold interest in the commercial space, among other things.

Since 2005, City staff has been working with FDC to resolve the arrearage issue. In December
2010, FDC was eight months in arrears, owing the City about $360,000. At that time, instead of
foreclosing on the FDC Loan, MOH agreed to amend the loan terms and extend FDC's
repayment of the $360,000 under separate repayment terms. FDC agreed to pay an additional
$5,500 per month to the City through August 2013, with the balance of the delinquent $360,000
due as a balloon payment in August 2013. FDC made no payments on this workout loan
between January 2011 and April 2013. To date, FDC has made only nine additional $5,500
payments, for a total of$49,500. FDC did not make the balloon payment due August 2013.
       Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 4 of 45
108-043.13-002                                                                             Page4



Over the last two years, the amount FDC owes under the FDC Loan has skyrocketed because the
City's tax collector has been taking the rental income from the commercial space (rental income
that would normally have gone to service the FDC Loan) to pay approximately $570,000 in
delinquent property taxes and penalties FDC owed on its leasehold interest in the commercial
space. Because that rental income went to the City's tax collector instead ofto MOH, MOH had
to service the HUD Loan using other funds (i.e., CDBG program dollars). While the initial
$570,000 due to the City's tax collector has been satisfied, FDC owes the City's tax collector at
least an additional $190,000 in delinquent taxes and penalties for the period July 1, 2012 through
June 30, 2014. The FDC Loan is currently about $1.4 million in arrears.

Investment by the former San Francisco Redevelopment Agency ("SFRA")

The SFRA invested about $6.6 million in land value and about $ 16 million in public funds in the
Fillmore Heritage Center. The SFRA's total investment took the form of deferred land
payments, grants and loans. These are briefly discussed below:

   •   Deferred Land Payments ($6.6 million). The SFRA owned the land on which the
       Fillmore Heritage Center sits. At the time the property was being developed, it was
       valued at $6.6 million. The developer did not have $6.6 million to pay the SFRA for the
       land. Instead, the SFRA agreed to "finance" the land acquisition through a ground lease
       structure on the commercial space. Under the ground lease, the developer agreed to pay
       the SFRA the $6.6 million using proceeds from the sale of the condominiums and rental
       income from the commercial space (after the FDC Loan with the City was paid off). The
       developer paid the SFRA $3.54 million of the $6.6 million acquisition price using
       proceeds from the sale of the condominiums. However, the developer still owes OCII
       $3 .1 million under the ground lease, which is supposed to be paid from the rental income
       from the commercial space (after the FDC Loan with the City is paid off). If and when
       the developer pays OCII the balance of the $6.6 million acquisition price, the developer
       will own the commercial space.

   •   Grants ($5.6 million). This money (tax exempt bond proceeds) paid for construction of
       the public parking garage, which OCII still owns. The state's environmental protection
       agency also contributed an additional $860,000 in grant funds to complete environmental
       remediation at the project site.

   •   Loans ($10.4 million). This money paid to build-out the commercial space. The City's
       $5.5 million loan paid for the core and shell, but additional money was needed to finish
       the space for occupancy. The SFRA loaned Yoshi's jazz club and restaurant $7.2 million
       and Food for Soul (doing business as "1300 on Fillmore") $2.6 million. The SFRA also
       loaned Food for Soul an additional $624,000 in working capital. These loans are
       discussed further below.

       Yoshi's Loan. In 2004, Yoshi's tenant improvements were estimated to be $7.4 million.
       By the time Yoshi's opened, however, that cost'had doubled to $15 million. Yoshi's
       financed that cost with $7 .8 million in private equity and debt and $7 .2 million in loan
       funds from the SFRA. Repayment of this loan comes from a percentage of the club's net
       operating income. No payments have been paid since the loan was first executed in
       Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 5 of 45
I 08-043.13-002                                                         Page 5


       October 2004 (i.e., no payments have been made in nine years). Further history of the
       Yoshi's loan is included in Attachment 2. The recent bankruptcy filing of Yoshi's San
       Francisco is discussed later in this memorandum.

       Food for Soul Loans. As mentioned, Food for Soul has two loans with OCII: (I) a $2.6
       million tenant improvement loan, and (2) a $624,000 working capital loan. Repayment
       of the $2.6 million tenant improvement loan comes from a percentage of the restaurant's
       net operating income, and repayment of the $624,000 working capital loan is an
       amortized quarterly payment. Food for Soul has told OCII staff that the restaurant has
       not been generating net operating income, and therefore, Food for Soul has not been able
       to make any payments under the tenant improvement loan that was first executed in
       October 2004 (i.e., no payments have been made in nine years). OCII staff intends to
       request audited financial statements, as authorized under the loan agreement, to verify the
       restaurant's net operating income and compliance with the existing loan terms.

       Food for Soul has been making small payments ($500 a month) on its $624,000 working
       capital loan since December 2011, which is a small fraction of the amortized quarterly
       payment due. This loan is currently out of compliance with the existing loan terms and
       will require some kind of amendment in the future, which will be brought before the
       Commission and Oversight Board for consideration as soon as possible.

Bankruptcy Filing of Yoshi's San Francisco

In November 2012, Yoshi's San Francisco filed a petition for Chapter 11 bankruptcy in U.S.
Bankruptcy Court, Northern District of California. At the time of filing, the only creditors listed
on the petition were Yoshi's Oakland (owed $1.3 million), a restaurant supply company (owed
$2,700), and a refrigeration services company (owed $500). Since that time, representatives of
Yoshi's San Francisco have been in mediation talks (under the supervision of the bankruptcy
court) with FDC's investor group to devise a path forward. All workout agreements proposed to
date involve replacing Yoshi's San Francisco with a new club/restaurant. This transition
involves an investment of $ I. 0 million in new working capital by FDC' s investors at a 12%
return. In exchange, FDC's investor group is asking the City and OCII for a number of changes
to existing agreements.

In regards to the City's FDC Loan, FDC's investor group is asking the City to (I) invest an
additional $216,000 (at a 6% return) into the club/restaurant, (2) give rent reductions to both
commercial tenants for a period of about 12 months, (3) allow FDC to repay the $1 .4 million in
arrears between 2015 and 2027, and (4) waive interest and additional penalties. The source of
funds for these payments would be a portion of FDC's total rental income on the commercial
space. These repayments to the City would be after subordinate lenders are repaid.

In regards to OCII's $7.2 million tenant improvement loan, FDC's investor group is primarily
asking OCII to (I) relinquish its $500,000 loan guarantee from Yoshi's Oakland, and (2) agree to
a considerably longer repayment plan. Under the latest proposal from FDC's investor group,
OCII would not receive a payment until at least 2019, which would be six years after payments
were supposed to start under the existing loan agreement and 15 years after the existing loan
agreement was executed.
       Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 6 of 45
I 08-043.13-002                                                         Page 6

Unless a workout agreement can be reached between the City/OCII and FDC and its investors,
the City will likely foreclose and take over as master tenant of the commercial space. Under this
scenario, OCII (as owner and landlord) would work with the City (as master tenant) to stabilize
and sell the property as soon as possible. If a workout agreement is reached between the
City/OCII and FDC and its investors, OCII could possibly transfer this asset to the City for the
governmental purposes mandated by the City's HUD Loan, assuming this transfer was approved
by the Oversight Board and DOF. In addition, some kind of loan amendment would likely be
required, and this would be brought before the Commission and Oversight Board for
consideration as soon as possible.

OCII staff has been working closing with City staff on a response to the latest proposal from
FDC's investor group. Copies of communications between OCII, the City, and FDC's investors
since February 2013 are attached as Attachment 3.

Other Tenant Improvement Loans on Fillmore Street

In addition to the tenant improvement loans to Yoshi's San Francisco and Food for Soul, the
SFRA approved two other tenant improvement loans to two other businesses on Fillmore Street.
One is with Agonafer Shiferaw, who owns a building at 1534-40 Fillmore Street that formerly
housed Rasselas Jazz Club, and the other is with Sheba Lounge, which leases space across the
street from the Fillmore Heritage Center to operate a restaurant/music lounge. These two tenant
improvement loans total about$ 1.6 million.

   •   Agonafer Shiferaw Loan. A detailed chronology of Mr. Shiferaw's $1.26 million tenant
       improvement loan with the SFRA, and now OCII, is attached as Attachment 4. In sum,
       Mr. Shiferaw has paid only $100,000 on this loan since it was first executed in December
       1997 (i.e., only $100,000 in payments have been made over the last 16 years). In
       February 2011, Mr. Shiferaw filed a petition for Chapter 11 bankruptcy in U.S.
       Bankruptcy Court, Northern District of California. He emerged from the bankruptcy
       process in August 2012. Since then, Mr. Shiferaw has been making monthly payments to
       OCII of $2,235, pursuant to the bankruptcy plan agreed to in bankruptcy court, which
       represents a 50% discount to his regular monthly payments. He recently sold his
       business (Rasselas Jazz Club), but continues to own the building where Rasselas used to
       be located at 1534-40 Fillmore Street. He will now make his debt service payments to
       OCII using rental income from the building. OCII's tenant improvement loan is secured
       by a fee interest in the building, behind Mr. Shiferaw's primary lender.

   •   Sheba Lounge Loans. Sheba Lounge has two loans with OCII. One is a $290,000
       tenant improvement loan, and the other is a $95,000 loan to cover prevailing wage
       expenses associated with the tenant improvements at Sheba Lounge' s space at the
       Fillmore Center. The $95,000 prevailing wage loan is forgiven if Sheba Lounge makes
       24 monthly payments of $1,475 each on its $290,000 tenant improvement loan before
       January 2014. To date, Sheba Lounge has made 20 payments of $740 each (50% of the
       full payment), and expects to make 24 payments of$740 each before January 2014. The
       owner of Sheba Lounge has advised OCII staff that her business is not generating enough
       net income to make the full $1,475 monthly payment. Similar to the Food for Soul tenant
       improvement loan, OCII staff intends to request audited financial statements, as
       authorized under the Sheba Lounge loan agreement, to verify the restaurant's financial
    Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 7 of 45
108-043.13-002                                                                         Page 7


      performance and compliance with the existing loan terms. This loan is currently out of
      compliance with the existing loan terms and will require some kind of amendment in the
      future, which will be brought before the Commission and Oversight Board for
      consideration as soon as possible.

      (Originated by Tracie Reynolds, Manager, Real Estate and Development Services)




   Attachment    1:   July 18, 2013 Letter from HOA to District 5 Supervisor London Breed
   Attachment    2:   Background on Yoshi's San Francisco Tenant Improvement Loan
   Attachment    3:   Recent Communications between OCII/City and FDC's Investor Group
   Attachment    4:   Background on Mr. Shiferaw's Tenant Improvement Loan
        Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 8 of 45


108-0262015-002                                                           Meeting of July 7, 2015


INFORMATIONAL MEMORANDUM

TO:            Community Investment and Infrastructure Commissioners

FROM:          Tiffany Bohee, Executive Director

SUBJECT:       To update the Commission on the status of the Fillmore Heritage Center at the
               corner of Fillmore and Eddy Streets in the former Western Addition
               Redevelopment Project Area A-2


PURPOSE OF INFORMATION

The purpose of this Informational Memorandum is to update the Commission on the status of the
Fillmore Heritage Center at the corner of Fillmore and Eddy Streets in the former Western
Addition Redevelopment Project Area A-2. The Fillmore Heritage Center is an $80.5 million
public-private partnership that includes: (1) 80 condominiums, (2) about 50,000 square feet of
commercial space, including a 28,000-square-foot entertainment venue/restaurant and a 6,000-
square-foot restaurant/music lounge, and (3) a 112-space public parking garage. Currently, the
28,000-square-foot entertainment venue/restaurant is vacant and the Office of Community
Investment and Infrastructure (“OCII”), as the owner of the commercial space and the garage,
and the City and County of San Francisco (“City”), as the master tenant of the commercial space,
are working (1) to stabilize the commercial space as quickly as possible and (2) to ultimately sell
both the commercial space and the garage as required by Redevelopment Dissolution Law.


BACKGROUND

The Fillmore Heritage Center is an $80.5 million public-private partnership that was financed
with $28.4 million of public funds from the City and the former San Francisco Redevelopment
Agency (the “Former Agency”). The public investment of dollars built the public parking garage
and the commercial space, which was intended to help revitalize the lower Fillmore Street
commercial corridor. The Former Agency also contributed the land, and allowed the developer
to pay the $6.6 million purchase price for the land over time. Part of the public investment also
included two tenant improvement loans totaling about $10.4 million from the Former Agency to
the two tenants in the commercial space.

The Fillmore Heritage Center can be divided into three components: (1) the residential units,
which were entirely privately financed, (2) the commercial space, which was financed with both
private and public funds, and (3) the public parking garage, which was entirely publicly
financed. Each of these components is discussed in more detail below.

      Residential Units. The Fillmore Heritage Center includes 80 condominiums, including
       12 affordable condominiums. The construction of these units was completely privately
       financed with about $35 million from a pension fund. No public dollars went into the
       residential component of the Fillmore Heritage Center. All the units have been sold to
       individual homeowners, and the proceeds were used to pay back the private construction
       Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 9 of 45
108-0262015-002                                                         Page 2



       lender and the Former Agency for a portion ($3.5 million) of the $6.6 million land value.
       The condominium owners operate a homeowners’ association, which manages the
       residential space, a separate residential garage, and the common areas within the Fillmore
       Heritage Center (the “HOA”). All the condo owners pay common area maintenance
       (“CAM”) fees to the HOA.

      Commercial Space. The Fillmore Heritage Center also includes about 50,000 square
       feet of commercial space on the ground floor of the building that is now owned by the
       Office of Community Investment and Infrastructure (“OCII”) as the successor agency to
       the Former Agency. The City financed the construction of the commercial space. To do
       this, the City, acting through the Mayor’s Office of Housing and Community
       Development (“MOHCD”), borrowed $5.5 million from the U.S. Department of Housing
       and Urban Development (“HUD”) in the form of a securitized Section 108 loan, which is
       backed by the City’s federal Community Development Block Grant (“CDBG”) fund
       allocation. The City then loaned these federal dollars to Fillmore Development
       Commercial (“FDC”), an affiliate of the developer, Fillmore Development Associates, so
       that FDC could build the commercial space. The Former Agency also contributed about
       $10.4 million in loan funds for the tenant improvements, as detailed later in this
       memorandum.

       The Former Agency master leased the entire 50,000 square feet of commercial space to
       FDC. The ground lease structure was used as a financing mechanism to allow the
       developer to pay the $6.6 million purchase price for the land over time instead of in one
       lump sum upfront (explained in more detail later in this memorandum). FDC, as master
       tenant, subleased the commercial space to two tenants: (1) Yoshi’s San Francisco, a
       28,000-square-foot jazz club and restaurant and (2) Food for Soul, which operates a
       6,000-square-foot restaurant/music lounge known as “1300 on Fillmore.” These
       subtenants were supposed to pay rent and common area maintenance fees to FDC, who
       was supposed to (a) pass the rent through to the City as a debt service payment on the
       FDC Loan, and (b) pass the CAM payments through to the HOA. This process did not
       happen on a regular basis. FDC fell in in arrears on the FDC Loan with the City (which
       is explained more fully below) and its common area maintenance payments to the HOA.
       Under the ground lease, FDC was required to pay the CAM charges to the HOA, but
       OCII was ultimately liable for these charges, as owner of the commercial space, under a
       separate project document. OCII has been paying the outstanding amount to the HOA
       with reserve balances and new property tax funds authorized by the Oversight Board and
       the California Department of Finance (“DOF”).

      Public Parking Garage. The Fillmore Heritage Center also includes a 112-space public
       parking garage. The Former Agency financed the construction of this garage using $5.6
       million in tax exempt bond proceeds. The Former Agency also used about $860,000 in
       federal grant funds for site preparation/environmental remediation. OCII owns the
       garage and operates it through a garage management agreement with a private garage
       operator. The garage also pays common area maintenance fees to the HOA. The
       garage’s performance is very dependent on the performance of the commercial tenants in
       the Fillmore Heritage Center.
      Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 10 of 45
108-0262015-002                                                         Page 3



In sum, the public investment went into the land, site preparation, the public parking garage, and
the commercial space. The Former Agency contributed the land, which was valued at about $6.6
million, and accepted a payback plan on the purchase price of the land over time ($3.5 million
has been paid to date). The Former Agency contributed an additional $5.6 million in grant funds
for garage construction, and about $16 million in Former Agency/City loan funds went into
building the commercial space. These investments are explained in more detail below.

Investment by the City

As mentioned, in an effort to finance the construction of the commercial space, the City
borrowed $5.5 million from HUD (the “HUD Loan”) and then loaned that money to FDC to
build the commercial space (the “FDC Loan”). The HUD Loan is fully amortized at an interest
rate of 5.54% with semi-annual interest payments and annual principal payments due through
August 2025. MOHCD has no ability to alter the terms of the HUD Loan. The FDC Loan is
fully amortized at an interest rate of 6.54% with monthly payments due through August 2025,
and is secured by a deed of trust on FDC’s leasehold interest in the commercial space, among
other things. Under this structure, FDC was required to make its debt service payments to the
City using rental income from the commercial space, and then the City used that money to make
its debt service payments to HUD. However, since the term of the FDC Loan started, FDC has
missed scheduled loan repayments at various points in time. The City has had to find other
money (i.e., CDBG funds used to serve the City’s low- and moderate-income residents) to make
its debt service payments to HUD.

In December 2010, FDC was eight months in arrears, owing the City about $360,000. At that
time, instead of foreclosing on the FDC Loan, MOHCD agreed to amend the loan terms and
extend FDC’s repayment of the $360,000 under separate repayment terms. FDC agreed to pay
an additional $5,500 per month to the City through August 2013, with the balance of the
delinquent $360,000 due as a balloon payment in August 2013. FDC made only nine of the
thirty-six additional payments due under the work-out and did not make the balloon payment.

Additionally, during this time period, the amount FDC owed under the FDC Loan skyrocketed
because the City’s tax collector was taking the rental income from the commercial space (rental
income that would normally have gone to service the FDC Loan) to pay approximately $570,000
in delinquent property taxes and penalties FDC owed on its leasehold interest in the commercial
space. Because that rental income went to the City’s tax collector instead of to MOHCD,
MOHCD had to service the HUD Loan using other funds (i.e., CDBG program dollars).

Over the last several years, MOHCD continued to engage with FDC and its investors related to
its inability to make timely loan payments and ultimately agreed to a loan restructuring as part of
the settlement of the Yoshi’s San Francisco bankruptcy, as discussed later in this memorandum.

Investment by the Former Agency

The Former Agency invested about $6.6 million in land value and about $16 million in public
funds in the Fillmore Heritage Center. The Former Agency’s total investment took the form of
deferred land payments, grants and loans. These are briefly discussed below:
      Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 11 of 45
108-0262015-002                                                         Page 4



      Deferred Land Payments ($6.6 million). The Former Agency owned the land on which
       the Fillmore Heritage Center sits. At the time the property was being developed, it was
       valued at $6.6 million. The developer did not have $6.6 million to pay the Former
       Agency for the land. Instead, the Former Agency agreed to “finance” the land acquisition
       through a ground lease structure on the commercial space. Under the ground lease, the
       developer agreed to pay the Former Agency the $6.6 million using proceeds from the sale
       of the condominiums and rental income from the commercial space (after the FDC Loan
       with the City was paid off). The developer paid the Former Agency $3.54 million of the
       $6.6 million acquisition price using proceeds from the sale of the condominiums. The
       remaining balance of $3.1 million was supposed to be paid from the rental income from
       the commercial space (after the FDC Loan with the City was paid off).

      Grants ($5.6 million). This money (tax exempt bond proceeds) paid for construction of
       the public parking garage, which OCII still owns. The state’s environmental protection
       agency also contributed an additional $860,000 in grant funds to complete environmental
       remediation at the project site.

      Loans ($10.4 million). The City’s $5.5 million FDC Loan paid for the core and shell of
       the commercial space, but additional money was needed to finish the space for
       occupancy. The Former Agency loaned Yoshi’s jazz club and restaurant $7.2 million and
       Food for Soul (doing business as “1300 on Fillmore”) $2.6 million. The Former Agency
       also loaned Food for Soul an additional $624,000 in working capital. These loans are
       discussed further below.

       Yoshi’s Loan. In 2004, Yoshi’s tenant improvements were estimated to be $7.4 million.
       By the time Yoshi’s opened, however, that cost had doubled to $15 million. Yoshi’s
       financed that cost with $7.8 million in private equity and debt and $7.2 million in loan
       funds from the Former Agency. The loan was secured with a deed of trust recorded
       against Yoshi’s leasehold interest, and further secured by a $500,000 guaranty from the
       developer and a $500,000 from Yoshi’s Oakland. Repayment of this loan was to come
       from a percentage of the club’s net operating income. No payments were received. The
       bankruptcy filing of Yoshi’s San Francisco is discussed later in this memorandum.

       Food for Soul Loans. As mentioned, Food for Soul has two loans with OCII: (1) a $2.6
       million tenant improvement loan, and (2) a $624,000 working capital loan. Repayment
       of the $2.6 million tenant improvement loan comes from a percentage of the restaurant’s
       net operating income, and repayment of the $624,000 working capital loan is an
       amortized quarterly payment. Food for Soul had been unable to make any payments
       under the tenant improvement loan that was first executed in 2004, due to a reported lack
       of net operating income. Food for Soul has been making small payments ($500 a month)
       on its $624,000 working capital loan since December 2011, which is a small fraction of
       the amortized quarterly payment due. Both loans are currently out of compliance with
       the existing loan terms and will require some kind of future amendment consistent with
       Redevelopment Dissolution Law, as discussed later in this memorandum.
      Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 12 of 45
108-0262015-002                                                         Page 5



Bankruptcy Filing of Yoshi’s San Francisco

In November 2012, Yoshi’s San Francisco filed a petition for Chapter 11 bankruptcy in U.S.
Bankruptcy Court, Northern District of California. Subsequently, there were mediation talks
(under the supervision of the bankruptcy court) with Yoshi’s San Francisco, FDC and its investor
group, and other creditors to devise a path forward. OCII and the City were involved in the
mediation talks because Yoshi’s San Francisco owed OCII the $7.2 million tenant improvement
loan and FDC owed the City the FDC Loan. The mediations talks focused on workout
agreements that included replacing Yoshi’s San Francisco with a new club/restaurant.

On March 3, 2014, as part of the mediation talks, OCII and the City executed a non-binding term
sheet with FDC and its investors, which presented the terms under which the City would agree to
changes to the FDC Loan, and OCII would agree to changes to the ground lease and the tenant
improvement loan (see Exhibit A). In regards to the City’s FDC Loan, the City agreed to, among
other things, forgo existing late charges (approximately $127,000 at that time) and reduce the
interest rate for existing late payments from 10% to 6.25%. The City, in turn, required FDC to
make the past due payments on a quarterly schedule, and pay all delinquent property taxes by
June 1, 2014. In regards to OCII’s tenant improvement loan, OCII agreed to forgo the portion of
the loan (66.7% or $4.8 million) attributable to Yoshi’s San Francisco as a result of the
bankruptcy, and renegotiate the terms of the remaining portion of the loan (33.3% or $4.8
million) attributable to FDC and its investors. OCII also agreed to renegotiate the terms of the
ground lease to extend the term of the land repayment. OCII, in turn, required FDC and its
investors to make regular loan payments and repay any CAM charges OCII had paid on its
behalf. The term sheet was intended to serve as the basis for negotiating and drafting final
documents requiring approval from the Commission, the Oversight Board, and DOF.

On June 24, 2014, the federal bankruptcy court approved a global settlement agreement under
which Yoshi’s San Francisco and its creditors agreed to restructure their debts and sell the
Yoshi’s San Francisco business to FDC and its investor group. Under this bankruptcy court-
approved settlement agreement, FDC and its investor group committed to the repayment terms in
the term sheet with OCII and MOHCD, took over the Yoshi’s San Francisco business, and on
July 1, 2014, began operating a music venue/restaurant, subsequently renamed The Addition.


DISCUSSION

Closure of The Addition

OCII worked with FDC and its investors beginning in July 2014 to draft amendments to the
tenant improvement loan and the ground lease that incorporated the terms of the term sheet.
Items that still needed to be negotiated included the security that FDC was willing to provide for
the tenant improvement loan, and a community benefits package. In addition, FDC had to be
current on all payments agreed to under the term sheet. FDC made loan payments to OCII from
July to October 2014, but stopped paying in November 2014. During this time frame, FDC did
not make any CAM payments to the HOA or the City for the FDC Loan or delinquent property
taxes. As a result, the draft amendments were never finalized. On January 14, 2015, FDC
ceased operations of The Addition.
      Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 13 of 45
108-0262015-002                                                         Page 6



OCII/City Actions Taken to Cure Default

On February 20, 2015, OCII issued a Notice of Default to FDC and its investors under the terms
of the ground lease, citing among other things, (1) the closure of The Addition, (2) security and
life safety issues, including unauthorized and unmonitored use of the commercial parcel and
failure to maintain the life safety system, and (3) failure to pay both property taxes
(approximately $140,000) and CAM charges (approximately $250,000), and provided FDC with
30 days to cure these defaults (see Exhibit B). On that same date, the City also issued a Notice
of Default to FDC under the FDC Loan, citing $1.59 million in missed regular payments and
$498,000 in interest and penalties (see Exhibit C). An estimated summary of FDC’s outstanding
obligations to OCII and the City is attached as Exhibit D.

FDC and its investor group requested and received additional time from the City and OCII so
that it could bring in a new investor group capable of recapitalizing the commercial space,
reopening it as an entertainment venue, and taking over its day-to-day operations. Unfortunately,
FDC was unable to come to terms with the new investor group and unable to cure its defaults
under the ground lease and the FDC Loan. Accordingly, on June 5, 2015, OCII issued a Notice
of Termination of Ground Lease to FDC and its investors, which terminated the ground lease
(see Exhibit E) but did not waive any of OCII’s and/or the City’s rights to collect on amounts
owed under the ground lease, the tenant improvement loan, or the FDC loan. The City, as a
“mortgagee” under the ground lease, immediately stepped in as the master tenant of the
commercial space (see Exhibit F).

Impact of Closure on Commercial Corridor

The bankruptcy and closure of Yoshi’s San Francisco and the subsequent closure of The
Addition have negatively impacted the lower Fillmore Street commercial corridor overall and in
particular the financial health of 1300 on Fillmore and the Fillmore Heritage Center garage,
which have seen dramatic declines in their patronage. Although 1300 on Fillmore has been
trying to increase business through catering and on-line ordering and promotions, it has been
forced to reduce its menu and inventory and lay-off staff and is unable to make its rent payments.
Before bankruptcy proceedings started, the garage was about breaking even. Since the closure of
The Addition, the monthly operating deficit of the garage has increased to approximately
$10,000. OCII has been backfilling this deficit with property tax funds authorized by the
Oversight Board and DOF.

Next Steps

In order to stabilize the commercial property as quickly as possible, OCII (as owner and
landlord) and the City (as master tenant) are currently exploring ways to activate the commercial
space on a short term basis and restructure the obligations of 1300 on Fillmore so that it can
remain open. Ultimately, however, Redevelopment Dissolution Law, California Health and
Safety Code Section 34191.5(c)(2), requires OCII to sell both the commercial parcel and the
garage for fair market value. OCII accordingly proposed selling the commercial parcel and the
garage under its Long-Range Property Management Plan (“PMP”), which this Commission
approved, by Resolution No. 53-2013 (November 19, 2013), and the Oversight Board approved
by Resolution No. 12-2013 (November 25, 2013). OCII submitted the PMP to DOF for approval
      Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 14 of 45
108-0262015-002                                                        Page?


in November 2013; DOF is still reviewing the PMP. OCII cannot sell the commercial parcel or
the garage until DOF approves OCII's PMP.

There will be two community meetings hosted by Supervisor Breed over the next month to hear
the community's concerns about the Fillmore Heritage Center and the lower Fillmore Street
commercial corridor in general, and solicit feedback from the community on stabilizing and
retenanting the space in the both the near and the long term. The first meeting will be held on
July 13, 2015 at 6:30 p.m. at West Bay Community Center. The second meeting will be held on
July 27, 2015 at 6:30 p.m., also at the West Bay Community Center. The feedback received
from the community will then be used to inform a request for proposals to be prepared by the
City and OCII for the sale of the properties.




Exhibit A:    Non-Binding Term Sheet
Exhibit B:    Notice of Default under Ground Lease dated February 20, 2015
Exhibit C:    Notice of Default under the FDC Loan dated February 20, 2015
Exhibit D:    Summary Estimate ofFDC's Outstanding Obligations
Exhibit E:    Notice of Termination of Ground Lease dated June 5, 2015
Exhibit F:    City Option to Assume Ground Lease dated June 5, 2015
Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 15 of 45




                            Exhibit A

                     Non-Binding Term Sheet
     Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 16 of 45




                              TERM SHEET
       FOR THE RESTRUCTURING OF CERTAIN DEBTS AND OBLIGATIONS
  RELATED TO THE COMMERCIAL PARCEL AT THE FILLMORE HERITAGE CENTER
         AT 1310 FILLMORE STREET (ASSESSOR'S BLOCK 0732, LOT 033)

 This non-binding term sheet for the restructuring of certain debts and obligations related to the Fillmore
Heritage Center at 1310 Fillmore Street (the "Term Sheet"), dated as of March 3, 2014, is hereby agreed
  to by the following parties: (I) the Office of Community Investment and Infrastructure, the successor
 agency to the Redevelopment Agency of the City and County of San Francisco, a public body, corporate
and politic of the State of California ("OCII" or the "Successor Agency"), (2) the City and County of San
    Francisco, acting by and through the Mayor's Office of Housing and Community Development (the
"City"), (3) Fillmore Development Commercial LLC, a California limited liability company ("FDC"), (4)
SN Fillmore LLC, a California limited liability company ("SN Fillmore"), (5) Fillmore Jazz Club, LLC, a
  California limited liability company ("FJC"), and (6) Fillmore Entertainment Group LLC, a California
   limited liability company ("NewCo"), (together, the "Parties"). This Term Sheet summarizes ce1tain
  basic terms related to the restructuring ofOCil's ground lease with FDC (the "Ground Lease"), OCil's
    tenant improvement loan with FJC (the "Tl Loan"), and the City's loan with FDC (the "Section I08
 Loan"). This Term Sheet is non-binding on the Parties, but rather serves as the basis for negotiating and
 drafting final documents requiring approval from the Successor Agency Commission, OCll's Oversight
 Board, and the State Department of Finance ("DOF"). Accordingly, in light of the foregoing, the Parties
wish to describe their understanding about final agreements that they are willing to negotiate in good faith
      regarding the potential restructuring of the Ground Lease, the TI Loan, and the Section 108 Loan.


                                                 TERMS

Section 1: Joint OCII/City Deal Points

    I. Initial FJC equity ($1.683 million) does not receive priority repayment, and is not included in
       workout deal.
    2. No six-month grace period for forgiveness of City/OCH debts in exchange for deed-in-lieu (that
       is a one-time, now-or-never offer).
    3. Revenue and expenditure budgets as prepared by FDC and agreed to by City/OCH (attached).
    4. FDC will deposit into escrow a Release of Ground Lease Rights which will be exercised
       automatically ifthe any scheduled payments are missed and not cured within 60 days. Scheduled
       payments include payments due to the City, OCII, property taxes, and CAM charges due to the
       HOA.
    5. NewCo will assume the CBT and Key Bank tenant improvement loans.
    6. Come to joint agreement on legal issues associated with Release of Ground Lease Rights,
       subleases, and additional liens.


Section 2: City Deal Points

    I. City will forgo the existing late charges due under the current Section I08 Loan, approximately
       $127 ,000. City will also reduce the interest rate for existing missed payments under the current
       Section I08 Loan from I0% to 6.25%, approximately $63,000. This results in an estimated past-
       due amount of approximately $1.304 million.
    2. Interest rate will remain 6.25%.


                                                                                                    Term Sheet
                                              Debt Restructuring - Co1n1nercial Parcel, Filhnore Heritage Center
                                                                                                     Page I of4
     Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 17 of 45




   3. Payments to the City on the past-due amount will follow the quarterly payment schedule prepared
      by FDC (attached). As pa11 of this schedule, FDC agrees to the full repayment of the Section 108
      Loan delinquency by December 2017.
   4. All property taxes due for FDC and its subtenants will be paid no later than June I, 2014.
   5. FDC wi II make a good faith effort to refinance the HUD Section 108 Loan by the end of 2017.


Section 3: OCH Deal Points

   1. TI Loan
       •  Terms have changed. Oversight Board and DOF approval required.
       •  Loan is converted from a% ofNOI loan to a fixed payment loan
       •  Interest rate stays the same at 3.25% (simple interest)
       •  Secmity is given - new UCC-1 filing on tenant improvements
       •  The% of the loan attributable to Kaz is lost in the bankruptcy (66.7%, or $4.8 million)
       •  The% of the loan attributable to FJC will be repaid (33.3%, or $2.4 million)
          o NewCo portion of loan ($1.74 million, which represents FJC's % interest in NewCo)
               • NewCo will make fixed, above-the-line, payments of $5,000 a month ($60,000) a
                   year for five years, then 100% ofNOI until loan plus interest is paid in full
               • NewCo will pay interest of3.25% (simple interest)
               • Full payment estimated to be in eight years (by 2021)
          0    FbC portion of loan ($660,000)
               • FDC will pay 100% of NO I after City second mortgage is paid in full
               • FDC will pay interest of3.25% (simple interest)
               • Full payment estimated to be in 14 years (by 2027)
        • Any missed loan payment triggers the reverter
        • FDC will also pay back any CAM charges paid by OCII (As of February 2014, that amount is
           $175, I08) with I 00% of FDC NOI (see waterfall below)

    2. Ground Lease
        •      Terms have changed. Oversight Board and DOF approval required.
        •      OCII gets paid I 00% of FDC cash flow after City second mortgage is paid off (estimated to
               be in Year 4 (2017))
        •      OCII will use the cash flow:
               o FIRST, to pay off CAM charges paid by OCII (as of Feb 2014 = $175,108), and
               o SECOND to pay offFDC's portion of TI loan ($660,000, plus interest), and
               o THIRD to pay off$3,006,328 balance on ground lease.
           •   Once $3,006,328 is paid in 18 years, FDC will own the commercial parcel (by 2031)

 Exhibit A:        FDC and NewCo Cash Flows Reflecting Term Sheet




                                                                                                      Term Sheet
                                                Debt Restructuring -- Conunercial Parcel, Filhnore Heritage Center
                                                                                                       Page2of4
     Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 18 of 45




Acknowledged and Accepted:



                                                            Date: ,   3      - 3-/C(



THE CITY:


     &£~
Olson Lee, Director
                                                            Date:

Mayor's Office of Housing and Community Development,
City and County of San Francisco, California




                                                                                             Tenn Sheet
                                         Debt Restructming - Commercial Parcel, Fillmore Heritage Center
                                                                                              Page 3 of 4
 Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 19 of 45




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                                                                                                                                                                                                                                              3/ 3/ 2014
FILLMORE DEVELOPMENT COMMERCIAL, LLC - CASHFLOW PROJECTION

                                                                                      1               2             3           4             5            6            7            8             9           10
                                                             Year:
                                                                                   May-Dec        Jan-Dec       Jan - Dec  Ja n -Dec      Jan - Dec    Jan - Dec    Jan -Dec     Jan - Dec    Ja n - Dec    Jan-Dec
                                                                                    2014            2015          2016        2017          2018         2019         2020         2021          2022         2023
                                                                                                     528,000 $ 528,000 $       528,000 $     528,000 $    543,840      543,840 $    543,840
                                                                                                                                                                                      s           543,840 $    543,840    s
New Co Base Rent                                                     44,000 $           352,000 $
                                                                                         80,000      120,000 $ 120,000 $       120,000       120,000 s    123,600 $s   123,600 $    123,600 $     123,600 $    123,600
1300 Rent Base Rent                                                  10,000 $                      s
                                                                                          8,000        18,000       18,000       18,000 $      18,000       18,540 s     19,096       19,669
                                                                                                                                                                                      s            20.259
                                                                                                                                                                                                        s       20,867    s               s
Gallery Rent (New Te na nt)                                           1,000   s                    s                s             s
                                                                                        440,000    s 666,000       666,000
                                                                                                                    s          666,000
                                                                                                                                  s          666,000 s    685,980  s   686,536      687,109
                                                                                                                                                                                      s           687,699
                                                                                                                                                                                                        s      688,307    s               s
Tobi Rent                                                                     s
                                                                                                           1.03
                                                                                         78,750       108,150      111,395     114,736       118,178      121,724       125,375     129,137       133,011      137,001
Ne w Co CAM Charges                                                    76%
                                                                                         16,579        22,768       23,451       24,155        24,879       25,626       26,395       27,186        28,002      28,842
1300 CAM Charges                                                       16%
                                                                                                        11,385      11,726       12.078        12,440       12,813        13,198      13,594        14,002      14,422
Gallery CAM Charges                                                     8%                8,289
                                                                                        103,618       142,303      146,572     150,969       155,498      160,163       164,968      169,917      175,014      180,265
Tot<JICAM                                                             100%

                                                                                         66,120          68,104          70,147            72,251         74,419           76,6Sl            78,9Sl            81,319          83,759           86,272
Ne w Co Property Tax Share                                              76%
                                                                                         13,920          14,338          14,768            15,211         15,667           16,137            16,621            17,120          17,633           18,162
1300 Property Tax Share                                                 16%
                                                                                          6,960           7,169           7,384             7,605          7,834            8,069             8,311             8,560           8,817            9,081
Gallery Property Tax Share                                               8%
                                                                                         87,000          89,610          92,298            95,067         97,919          100,857           103,883           106,999         110,209          113,515
Total Property Tax Collected                                           100%
                                                                                                        897,913         904,870           912,036        919.417          947,000           955,387           964,025         972,923          982,087
TOTAL REVENUE:                                                                          630,618

                                                                                                        (231,913)       (238,870)         (246,036)      (253,417)       (261,020)         (268,850)         (276,916)        (285,223)       (293,780)
Total Operating Expenses (Taxes, CAM)                                                  (190,618)
                                                                       2.7%    s        (12,000) $       (18,000)   s    (18,000)     s     (18,000) $     (18,000) $     (18,720) $        (18,720)    s     (18,720)    s    (18,720) s (18,720)
FDC Management Expenses
                                                                                        428,000    s     648,000    s    648,000 $         648,000   s    648,000 $       667,260     s     667,816     s     668,389     s    668,979  s 669,587
Net Operatinc Income:                                                          s
                                                                                       (360,151)   s    (540,227) $ (540,227) $ (540,227)            s (540,227) s        (540,227)   s     (540,227)   s     (540,227)   s (540,227) s (540,227)
Mortgage Amount: (First Mortgage)                                              s
                                                                               s       (360,151)   s    (540,227) (1,080,454)
                                                                                                                    s          (1,620,681)
                                                                                                                                      s              s (2,160,908) s    (2,701,135)   s   (3,241,362)   s   (3,781,589)   s (4,321,816) s (4,862,043)
Cummula tive First Mortgage Payments:
Mortg:lge Amount: (Second Mortgage)                                            s        (44,000)   s     (66,000)   s(66,000)     (66,000)
                                                                                                                                      s
Cummulative Second Mortg:lge Payments:                                         $        (44,000)   s    (110,000)   (116,000) s (242,000)1
                                                                                                                    s             I
                                                                                                        (606,227)   (606,227)    (606,227)           s   (540,227) $     (540,227)    s     (540,227)   s    (540,227)    s   (540,227)   s    (540,227)
Total Debt:                                                                    s       (404,151)   s                s                 s
                                                                                                          41,773         41,773       $     41,773 $     107,773 $        127,033     s     127,589     s     128,162     s   128,752     s    129,360
 AVAILABLE CASHFLOW:                                                           s         23,849    s                s
                                                                                              8               12             12                 12            12               12                12                12              12               12
 Mos.

                                                                                         23,849           4 1,773        41,773       $     41,773   $            $                   s                 $                 s               $
 Share to City/Mayor's Office (100)%) Until Paid in Full               100%    s                   s                s                                         -
                                                                                                   $                $                 $              s    107,773 $       127,033     s     127,$89     s     128,162     s    128,752    s     129,360
 Share to FDC (0%) Until City is Paid in Full                            0%    s
                                                                                                                                      s    149,168
 CUMMULATIVE PAYMENTS TO CITY:
                                                                                                                                      s    177,058
 FDC Ballon Payment:

                                                 Cap Rate:               9% $          4,755,556                                                     $ 7,200,000
 Valuat ion at Year 1 & 5:

                                                                                                                                                          107,773   s     127,033 $          127,589    s     128,162 $        128,752    s     129,360
 Cashflow To OCll to Acquire leasehold Interest Fee:                   100%1           4,013,036 1(1)                                                s
                                                                                                                                                     $    107,773 $       234,806     s      362,395    s     490,557     s    619,309    $     748,669
 Cummulative Payments to OCll:
                                                                                                                                                     s              s                 s                 s             $                   $
 Cashflow to FOC:                                                        0%
                                                                                                                                                                                                                                                           Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 20 of 45
Cummulative Payments to FDC:                                                                                                                           s                 s                  s                   s                    s                s
                                                             Year:                11                    12                13                14                15                16                 17                     18               19               20
                                                                                Jan· Dec             Jan· Dec           fan. Dec          Jan· Dec         Jan · Dec         Jan - Dec          Jan - Dec               Jan· Dec         Jan· Dec         Jan· Dec
                                                                                 2024                 2025               2026              2027              2028              2029               2030                   2031             2032             2033
New Co Base Rent                                                            s      560,155       s     560,155 s         560,155      s     560,155    s      560,155    s      576,960     s      576,960      s         576,960 $        576,960    s     576,960
1300 Rent Base Rent                                                         s       127,308      s     127,308      s     127,308     s     127,308    $      127,308    s      131,127 s          131,127 $              131,127 $        131,127 $        131,127
Gallery Rent (New Tenant)                                                   s        21,493      s      21,493      s      21,493     s      21,493    s       21,493 $          22,138 $           22,138      s          22,138    s      22,138    s      22,138
Total Rent                                                                  s       708,956      s     708,956 $         708,956      s     708,956    s      708,956    s      730,225     s      730,225      s         730,225 $        730,225 $        730,225


New Co CAM Charges                                                    76%           141,111             145,345           149,705           154,196           158,822           163,587            168,494                 173,549         178,755          184,118
1300 CAM Charges                                                      16%            29,707              30,598            31,516            32,462            33,436            34,439             35,472                  36,536          37,632           38,761
Gallery CAM Charges                                                    8%            14,854              lS,300            15,759            16,232            16,719            17,220             17,737                  18,269          18,817           19,382
Total CAM                                                            100%           185,673             191,243           196,980           202,890           208,976           215,246            221,703                 228,354         235,205          242,261


New Co Property Tax Share                                             76%             88,860             91,526             94,271            97,099          100,012           103,013            106,103                 109,286          112,565          115,942
1300 Property Tax Share                                               16%             18,707             19,269             19,847            20,442           21,055            21,687             22,338                  23,008           23,698           24,409
Gallery Property Tax Share                                             8%              9,354              9,634              9,923            10,221           10,528            10,843             11,169                  11,504           11,849           12,204
Total Property Tax Collected                                         100%            116,921            120,428            124,041           127,762          131,595           135,543            139,609                 143,798          148,112          152,555
TOTAL REVENUE:                                                                     1,011,550          1,020,627          1,029,978         1,039,608        1,049,528         1,081,014          1,091,537               1,102,377        1,113,541        1,125,041


Total Operating Expenses (Taxes, CAM)                                               (302,594)           (311,671)         (321,021)         (330,652)        (340,572)          (350,789)          (361,312)              (372,152)        (383,316)        (394,816)
FDC Management Expenses                                                     s        (19,469) $          (19,469)   s       (19,469)  s      (19,469)  s      (19,469)   s       (20,248)   s        (20,248)   s          (20,248)  s      (20,248) $       (20,248)
Net Operating Income:                                                       $        689,487     s       689,487    s      689,487 $         689,487 $        689,487    s       709,977    s       709,977     s          709,977 $        709,977 $        709,977


Mortgage Amount: (First Mortgage)                                           s       (540,227)    s      (540,227)   s (540,227) $                      $                 s                  $                       s                $                s
Cummulative First Mortgage Paym<!nts:                                       $     (5,402,270) $       (5,942,497) $ (6,482,724)
Mortgage Amount: (Second Mortgage)                                          s                    s                  s                 s                $                 s                  s                       $                $                s
Total Debt:                                                                 $       (540,227) $         (540,227)   s     (540,227)   s                $                 s                  $                       s                $                s
AVAILABLE CASHFLOW:                                                         $          149,260 $        149,260     $     149,260 $   689,487 $               689,487 $         709,977     $      709,977 $               709,977 $        709,977 $        709,977
Mos.                                                                                        12               12                12          12                      12                12                 12                      12               12               12
Valuation at Vear 14 & 20:                             cap Rate:       9%                                                         $ 7,660,970                                                                                                         s    7,888,636


 Cashflow To OCll to Acquire Leasehold Interest Fee:                 100%   s          149,260   s       149,260    s149,260 $   689,487 $   689,487 $                           709,977    $       709,977 $    17,657 $                             s
 Cummulative Payments to OCll:                                              s          897,929   s     1,047,190 $ 1,196,450 $ 1,885,937 $ 2,575,425 $                         3,285,402    $     3,995,379 s 4,013,036 1 $
                                                                                                                                                                                                                I                     $
 cashflow to FDC:                                                      0%   s                    s                  s                 s                s                 s                  $               $   692,321 $     709,977     709,977     s
 Cummulative Payments to FDC:                                               s                    s                  $                 s                s                 s                  $               $   692,321     1,402,298s  2,112,275     s

 (1) Amount equals:
 - $175,108 CAM
 - $660,000@ 3.25% over 8 Years
 - $3,006,328 Towards Ground Lease Purchase
                                                                                                                                                                                                                                                                        Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 21 of 45
NEW CO. FINANCIAL OPERATING_l'ROJECTION                                                                                                                                                                                                                                       3/3/2014


                                                                                                                                                   4                      5                  6                    7                    s                  9                  10                  11                  12                  13
                                           Year:                                1                           2                   3
                                                                                                                                                                        ID!                 W2                  m2                   .ml                  ~                 m1                   ~                   ~                  ~
                                                                               ~                          ~                    ~                  mz
                                                                                                                                   (12 Months)     (12 Months)     (12 Months)     (12 Months)     (12 Months)                                        (12 Months)        (12 Months)         (12 Months)         (12 Months)         (12 Months)
                                                                            (S Month<)                (12 Months)           (12 Months)
                                                                                                                                             1.03            l.03            1.03            1.03            1.03            1.03                                                  1 .03                1.03               1.03                 1.03
N~     !';:2 • ~:in Frnn~l<Si2   ~~!;                                                                       1.03             1.03
                                                                                                                                                                                                                                                                          13,047,731.84 s    13,439,163.79 s     13,842,338.71 $      14,257,608.1!7
Gross Revenue                                                       $        6,666,6GU7          $ 10,300,000.00 $ 10,609,000.00 $ 10,927,270.00 $ 11,255,088.10 $ 11,592,740.74 $ 11,940,522.97 $ 12,298,738.65 s 12,667,700.l!l s
(8.lsc Annwl Budcct • $10 mllllon)                                                                                                                                                                                                                                                                                                            85.3%
                                                                                                                SS.4%          85.3%                    85.3"                 85.3%               85.3%                85.3"           85.3%           85.3%                      85.3%               85.3%               85.3%
                                                     %of Gross                      85.4%
                                                                                                                                                                                           9~3.451.37      s   10,190,254.91 S 10,495.962.55 S 10,810,841.43 S            11,135.166.67 s     11,469,221.67 s     11,813,29S.32 s     12,167,697.27
Minus ()pet';atlng Expenses                                         s        5.692,666.67 s              8,792.650.00 s 9.053.909.50 s           9,325,526.79 s        9,605,292.59 s
{B.l~ Mnual Expcn~ • $8.9 minion)
- 5% Sa'lllngs Jn EJtpen~

                                                                                                                              528,000.00 s        528,000.00 s          528,000.00 s        543,840.00 s         543,840.00    s     543,840.00 s        543,840.00 s        543,840.00 s        560,155.20 s       SG0,155.20 s         560,155.20
·Solsc Rent:                                                        s          352,000.00 s               528.000.00 s
                                    Monthly Rent:          44,000
                                                                                                                                                                        118,853.73 $        122,419.34 $         126,091.92 s        129,874.68 $        133,no.92 $         137,784.05 S        141,917.57 $       146,175.10 s         150,560.35
<AM: (NO tNmAL REDUCTION)                                           $           70,400.00 $               108,763.00 s        112,031.04 $        115,391.97 s
                                                                                                                                                   66,120.00 s           66,120.00 $         66,120.00 $          66,120.00 $         66,120.00 $         66,120.00 s         66,120.00 $         66,120.00 $        66,120.00 s          66,120.00
·ProPffl'( T»cs: (NO INmAL REDUCTION)                               $           44,080.00 $                66,120.00 $         66,120.00 s

S8A~n:
·CBT PoO'llon:
  • 8.llancc: $518,000 ·EST                               550,000   s           56,000.00        s         84,000.00 $          84,000.00   s      84,000.00 $           84,000.00 $        108,000.00 $
  - Extended Term to 8.S v~
·Key B.1nl< P;:irtlclp\)tlon Portion:
  • B.ll;in<:c: $410,000                                  410,000 s             13,666.67 $                 58,800.00   s       58,800.00   s      58,800.00 s            58,800.00   $     176,400.00 s
     • Interest Only for 12 Months @ S.0%


            : -~---- --- - - -
,-tJ,encvTI~_                                                       L           40,ooo.oo s- r o .oooJiO


                                                                                                                                                  639,431.24            734,021.78 $        682,510.03     s    1,014,216.14    s 1,062,941.42 $       1,113,128.46 $      1,164,821.12 $      1,201,749.35 s      1,256,590.09 s      1,313,076.04
NET INCOME: (NOi Avail for Debt)                                    s          397,853.33 $                601,662.00   s      646,139.46 $                        $

New Notes:
Cltv/Mayor•s Ofncc New Note
                                                            27.00% s           107,420.40 s                162,448.74 s        174,457.65 $        !86.:..:6.4.;
                                         6?0,473                   s           107,420.40 s                269.869.14 s        444,326.79   I$     630•.=11.:n 1
· Prcfctrcd Return@ 3"
 NcwFJCNotc
-$500,000                                                   JG.SD% s            145,216.47 $               219,606.63 s        235.840.90 s         43,124.63
 • Preferred Return@ 12"
 s                                       6!0,000
 SN AllmOfe Equity Note
 -$500,000                                                  36.50% s            145,216A7 s                219,606.63 $        235,840.90    s      43,124.63
 - Preferred Return @ 1.2%
 $                                       630.000
 Mlnu'$ MOHCO ~llnqucncy Note {~non)                                                                                                         s     •!0.9>6.25
                                                                                                                                                     6,109.29 s          734,021.78 s        632.510.03 s        1.014,216.14 s      1,062,941.42 s     1,113.128.46 $      1,164.821.12 s      1,201,749.35 $      1,256,590.09 s      1,313,076.04
  AVAILABLE CASHFl.OW:                                                  s                         s                      s                   s

 Minus SN Fiiimore Note
 Sl,250.000 @ 3%
 - Preferred Rctum @ 3%
                                                                                                                                             s           6.109 s          734,021.78 s        361,363.92
                                                                                                     s                   s                   s         342,109 $        1,076,131.08 s      1,437.500.00
  SN Filltnotc Note Cummulatlvc Amount                                  s
                                        1,.437,500

                                                                                                                                                                                       s         321,141  $           1,014,216 $      1,062,941 s         1,113,125 $        1,164,821 s          1.201,749 s         1,256,590 $         1,313,076
  AVAll.ADU CASllFLOW:                                               s                               s                  $                   $                  $
                                                                                                                                                        60,000 s                60,000 s          321,141 $           1,014.216 s        459,707 s                   $                   $                   $                   $
  Distribution to OCtl for Tl Loan:                                  s                  40,000       s           60.000 s            60,000 s
                                                                                                                                                                                                 601,141 $            1,615,3571 s     ~.015,065 s
                                                                                                                                                                                                                                                 I         2,075,065 $        2,075,065 s          2,075,065 $         2,075,065 $         2,075,065
  Cummul3tlvc Distribution to OCll:                       l ,1•0.000 s
                                                                    I                   40,000       $          100,000 $           160,000 $          220,000 $               280,000 $
                                                     I                                                                                                                                 $                                         $       603,234 $         1.113,128 $        1,164,821 s          1,201,749 s         1,256,590 s         1,313,076
  Distribution to New Co for TI Loan:                                                                                                                          s                                          s
                                                                                                                                                                                                          $                      s       603,234 $         1,716,362 $         2,881,184 s         4,082,933 $         5,339,523 $         6,6$2,599
  Cummulatlvc Dlstrlbutlon to New Co:                                                                                                                              $                   s
                                                                                                                                                                                                                                                                                                                                                       Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 22 of 45




                                                                                                                                                       4                                         6                    7                    a                9                 10                   11                  12                  13
                                                                                    1                           2                   3                                         5
                                                                                                                                                                                                                                       ml                 ~                  ml                  ~                   ~                   W§
                                             Year:                              121!                        Wl                  lQll               mi                     W!                  W2                  m2
                                                                                                                                   3/3/2014


                                                                                        18                   19
                          ,.,,"                 "                  ,,,."               ill!                                      "
    (12Mooths)
      "'"-"          (12 Months)     {12 Months)
                                               ""'   (12Months)      (12 Months)     (12 Months)     (12Months)                 ""
               1.03             1.03            L03            L03              L03             L03            l.03
     14,685,337.13 $ lS,125,897.25 $ 1S,S79,674.17 $ 16,047,064.39 $ 16,S?a,476.32 $ 17.024,330.61 $ 17,SlS,060.53

             85.3%               85.3%                85.3%               85.3%               85.3%
                                                                                                            -      85.3%               853%
    12,532, 728.19 $     12,908,710.04 $      13,295,971.34 $     13,694,850.48 $     14,105,695.99 $      14,528,866.87 $     14,964,732.88




       560,155.20    $     560,155.20     $     576,959.86    $     576,959.86    s     576,959.86     s     576,959.86    s     576,959.86

       155,077.16    s     159,729.47 $         164,521.36    $     169,457.00 $        174,540.71     $     179,776.93    $     185,170.24
        66,120.00 $         66,120.00 $          66,120.00    $      66,120.00 $         66,120.00     $      66,120.00    $      66,120.00




                                                                                                       s




      1,371,256.58 $      1,431,182..54   $    1,476,101.61   S    1,539,677.06   $    l,605,159.76    S    1,6'12,606.9S $     1,742,077.SG




      1.371,255.58 $      1,431,182.54 $       1,476,101.61   $    l.539,677.06   $    1.605,159.76    $    1,672,606.95 $      1,742,077.56




s        1,371,257   $       1,431,183    s       1,476,102   s       1.539,677   $       1,605,160    s       1,672,607   s       l,742,078
s                    s                    s                   s                   s                    s                   s
s        2,075,065 $         2,075,065    $       2,075,065   $       2,075,065   s       2,075,065    s       2,07S,06S   s       2,075,065
s        1,371,257 $         1.431,183    $       1,476.102   $       l,539,677   s        l,605,160   $        1,672,607 $        1,742,078
s        8,023,SSG $         9,455,038    $      10,931,140   $      12,470,817   $      14,075,977    $      15,74'.Sl!4 $       17,490,661
                                                                                          18                   19
                                                                                                                                               Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 23 of 45




        "                    "                    "                  "                                                           "
       ""                  """                  ""'                 ""                  ""                   -                   ""
Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 24 of 45




                              Exhibit B

     Notice of Default under Ground Lease dated February 20, 2015
            Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 25 of 45
        Office of Community                                                      EDWIN M. LEE, Mayor
Investment and Infrastructure
     (Successor to the San Francisco                                             Mara Rosales, Chair
           Redevelopment Agency)                                                 Marily Mondejar
                                                                                 Darshan Singh
       One South Van Ness Avenue                                                 Miguel Bustos
          San Francisco, CA 94103
                     415.749.2400                                                Tiffany Bohee, Executive Director




        Certified Mail Return Receipt and Electronic Mail


                                       NOTICE OF EVENT OF DEFAULT
                                       FILLMORE HERITAGE CENTER


        February 20, 2015                                                                108-0062015-004



        Fillmore Development Commercial, LLC
        c/o UrbanCore Development, LLC
        4096 Piedmont Avenue, Box 313
        Oakland, CA 94611

        mj ohnson@urbancorellc.com

        Attn:    Michael Johnson
                 Members

                 Re:       Ground Lease Agreement entered into as of August 23, 2005, by and between the
                           Office of Community Investment and Infrastructure, as the Successor Agency to
                           the Redevelopment Agency of the City and County of San Francisco ("OCII")
                           and Fillmore Development Commercial, LLC ("Tenant") (the "Ground Lease")

        Dear Mr. Johnson and Members of Tenant:

        NOTICE IS HEREBY GIVEN that you are in default of your obligations under the following
        sections of the Ground Lease:

             •   Section 21.l(i), Abandonment of Premises Under Certain Conditions, which provides
                 that the Premises must not be abandoned or cease to be used for the uses permitted under
                 the Ground Lease.

                       o   Section 18.1 of the Ground Lease requires that the Tenant "continuously use the
                           Premises for permitted uses and for no other purposes." As of January 14, 2015,
                           Tenant closed the nightclub and ceased commercial activity in the nightclub
                           portion of the Premises. Previously, the sublease by and between the Tenant and
                           Yoshi's San Francisco, LLC (the "Sublessee"), dated as of May 6, 2005, was
                           terminated when the Sublessee ceased operations at the Premises on July 1, 2014
                           and the sublease was not assigned to a new operator.
   Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 26 of 45
Mr. Michael Johnson                                                           February 20, 2015
Members of Lessee                                                                   Page 2 of3

          o    Section 18.2 prohibits certain uses on the Premises in the absence of the
               Landlord's consent. Information received from the property manager of the
               Fillmore Heritage Center indicates that the Tenant has been allowing the
               unauthorized and unmonitored use of the Commercial Parcel. OCII has not had
               the opportunity to review and/or consent to any of these activities, as required by
               the Ground Lease.

   •   Section 21.1 (k), Failure to Comply with Lease Terms Under Certain Conditions (Waste).

          o    Section 8.1 of the Ground Lease requires the Tenant to covenant not to do or
               suffer any waste or damage, disfigurement or injury to the Premises. On January
               23, 2015, OCII was notified that the utilities serving the nightclub portion of the
               Premises had been turned off and the life safety system was operating on back-up
               battery. This action caused life safety, security, and liability concerns for both
               the Commercial Parcel and the Housing Parcel. At Landlord's request, the City
               and County of San Francisco has since restored the utilities under its emergency
               authority.

   •   Section 21.1 (k), Failure to Comply with Lease Terms Under Certain Conditions (Failure
       to pay Impositions).

           o   Section 4.1 of the Ground Lease requires the Tenant to pay all Impositions,
               which include, among other things, "any and all taxes on the assessed value of
               the Commercial Parcel" as well as "all assessment levied under the provisions of
               the Reciprocal Easement Agreement ("REA"). The Ground Lease further
               provides that the Tenant covenants to pay the Impositions before delinquency
               and before any fine, penalty, interest or cost is added thereto for nonpayment. As
               ofthis date, Tenant owes approximately $145,000 in delinquent property taxes to
               the City and County of San Francisco, which amount includes the principal tax
               amount due and penalties, and approximately $37,400 in delinquent Common
               Area Maintenance Charges ("CAM" Charges) to the Fillmore Heritage
               Homeowners Association pursuant to the terms of the REA. The current amount
               of delinquent CAM Charges is in addition to the approximately $210,000 of
               delinquent CAM Charges that the OCII, as the legal owner of the Commercial
               Parcel, has already paid on behalf of the Tenant after numerous failed attempts to
               collect CAM Charges from the Tenant itself.

   •   Section 21.1 (a), Failure to Pay Ground Rent Within Certain Time Period, which provides
       that Tenant must pay any Ground Rent, in the manner prescribed in Section 2.2 of the
       Lease, when due to Landlord within five (5) days after notice thereof from Landlord.

           o   Section 2.2 of the Ground Lease provides that "Ground Rent will commence on
               the sixth (61h) year of the Commercial Term." The Commercial Term
               commenced in November 2007; accordingly, Ground Rent became due starting
               in November 2012. Tenant has paid no Ground Rent to date.


BE ADVISED THAT THE FAILURE TO COMPLY WITH THE COVENANTS OF THE
GROUND LEASE CONSTITUTES AN EVENT OF DEFAULT UNDER THE GROUND
LEASE. YOU ARE HEREBY NOTIFIED THAT YOU HAVE FIVE (5) DAYS FROM



                                                2
      Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 27 of 45
Mr. Michael Johnson                                                           February 20, 2015
Members of Lessee                                                                   Page 2of3

THE DATE OF THIS NOTICE IN WHICH TO CURE THE DEFAULT UNDER
SECTION 21.l(A) ABOVE AND THIRTY (30) DAYS FROM THE DATE OF THIS
NOTICE IN WHICH TO CURE THE DEFAULTS LISTED UNDER SECTIONS 21.l(i)
AND 21. l(k) ABOVE. UPON FAILURE TO CURE THE DEFAULTS, OCH INTENDS
TO EXERCISE AVAILABLE REMEDIES UNDER THE GROUND LEASE,
INCLUDING, BUT NOT LIMITED TO, TERMINATION OF THE GROUND LEASE.

As a result of the above-described cessation of a Permitted Use, the unauthorized use of a portion
of the Commercial Parcel, and the compromise to the life safety system, on February 12, 2015,
OCII notified the Tenant that it intended to take immediate action under Section 7 .1 of the
Ground Lease to secure the Commercial Space; subsequently, OCII had the Commercial Space
rekeyed.

We write this letter without waiving any rights.



Successor Agency to the Redevelopment Agency of the City and County of San Francisco,
a public body, organized and existing under the laws of the State of California




cc:      Olson Lee, Director, Mayor's Office of Housing and Community Development
         Heidi Gewertz, City Attorney's Office
         California Bank and Trust, 2399 Gateway Oaks Drive, Suite 110, Sacramento, CA,
             95833
         U.S. Small Business Administration, c/o 1050 Iron Point Road, Folsom, CA, 95630




                                                   3
Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 28 of 45




                            Attachment C

    Notice of Default under the FDC Loan dated February 20, 2015
       Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 29 of 45

                     MAYOR'S OFFICE OF HOUSING
                    AND COMMUNITY DEVELOPMENT
                    CITY AND COUNTY OF SAN FRANCISCO



                                                                                              EDWINM.LEE
                                                                                                   MAYOR

                                                                                                 OLSON LEE
                                                                                                  DIRECTOR




February 20, 2015

Michael Johnson
Fillmore Development Commercial, LLC
c/o UrbanCore Development, LLC
4096 Piedmont Ave, Box 313
Oakland, CA 94611

mj ohnson@urbancorellc.com

Sent via Certified Mail Return Receipt and Electronic Mail


       Re:      Notice of Default under the Loan Agreement entered into as of August 29, 2005, by and
                between the City and County of San Francisco ("City") and Fillmore Development
                Commercial, LLC ("FDC" or "Borrower"), as amended by the First Amendment to Loan
                Agreement and Promissory Note dated as of December 8, 2010 (the "Loan Agreement"),
                for a loan in the original principal amount of Five Million Five Hundred Thousand
                Dollars (the "Loan")

Dear Mr. Johnson:

         The City, acting through the Mayor's Office of Housing and Community Development
("MOHCD"), provided a $5.5 million construction loan to FDC for the construction of tenant
improvements at the Fillmore Heritage Center Project (the "Project"). The Loan is secured by the
leasehold estate pursuant to the Borrower's ground lease with the Successor Agency to the
Redevelopment Agency of the City and County of San Francisco. The Loan is fully amortized at an
interest rate of 6.54 percent with monthly payments due through August 2025. To fund this loan,
MOHCD borrowed $5.5 million from the U.S. Department of Housing and Urban Development ("HUD")
in the form of a securitized Section 108 loan. Section 108 loans are backed by the City's federal
Community Development Block Grant ("CDBG") fund allocation.

         Since the Loan began, the Borrower has missed scheduled loan repayments at various points in
time. In August 2010, Borrower was 8 months in arrears on its original Loan, owing $360,150 in missed
payments. At the time, MOHCD agreed to a work-out plan, rather than foreclose on the ground lease,
whereby MOHCD amended the original loan and agreed to a longer repayment schedule. In separating
the delinquent amount in a first amendment to the loan, MOHCD agreed to no longer consider the loan
delinquent and forgo collecting any late fees or penalties unless Borrower missed subsequent payments.


             1 South Van Ness Avenue, Fifth Floor, San Francisco, CA 94103
   Phone: (415) 701-5500 Fax: (415) 701-5501 TDD: (415) 701-5503 http://sfmohcd.org/
       Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 30 of 45
                                                                  Fillmore Development Commercial, Page 2


The repayment of the delinquent amount was structured with payments of $5,500 per month through
August 2013, with the balance of the delinquent amount due as a balloon payment in August 2013. To
date, Borrower has only made nine of thirty-six payments due under this first amendment and has not
made the balloon payment. MOHCD agreed to this work-out plan in good faith in recognition of a
challenging economic climate and was led to believe that the Project's tenants had gotten behind on their
rent payments. Subsequent information has shown that the tenants were making timely rent payments but
that Borrower got behind in passing along those revenues to service the debt. Furthermore, SN Fillmore,
as a subordinate lender, was repaid from Yoshi's rental income, ahead ofMOHCD in violation of
MOHCD's agreement with the Borrower.

        Over the last three years, MOHCD has engaged in negotiations with Borrower related to the
Borrower's inability to make timely loan payments due to obligations owed the City Tax Collector and
due to Yoshi's San Francisco's bankruptcy proceedings. Throughout these negotiations, the Borrower
was not able to successfully implement a timely repayment plan for the loan amount past due nor for
unpaid Unsecured Personal Property taxes owed the City.

        On June 24, 2014, the federal bankruptcy court approved a global settlement agreement under
which Yoshi's San Francisco and its creditors agreed to restructure their debts and sell the Yoshi's San
Francisco business to FDC and its investor group. Under the global settlement agreement, FDC and its
investor group took over the Yoshi's San Francisco business and the Yoshi's San Francisco sublease of
28,000 square feet in the Fillmore Heritage Center and began operating a music venue/restaurant, The
Addition, in the space on July 1, 2014.

        Subsequent to July 1, 2014, FDC remains in default under the Loan. Borrower is currently 27
months behind in making payments on the Loan. Amounts past due at this time include $1.59 million in
regular payments and $498,000.00 in interest and penalties. The current principal balance on the Loan,
without applying any late charges, is $5 million dollars.

        Borrower's failure to pay amounts due under the Loan results in a direct loss of CDBG funds that
the City's nonprofit community relies on to serve low-income communities. The City has an obligation to
protect and gamer its CDBG funds for this critical work. At a time when the City is facing significant
demands for its CDBG program, this office is faced with setting aside additional CDBG funds to repay
HUD while the Loan default remains uncured. Accordingly, if Borrower is not able to cure the payment
default plus subsequent missed payments, accrued interest and loan fees totaling $2,087,022.79 before
March 2, 2015, we intend to exercise available remedies, including foreclosure on the leasehold deed of
trust. We write this letter without waiving any rights.

Sincerely,


   Cf!g~
Olson Lee
Director


cc:     Tiffany Bohee, Executive Director, Office of Community Investment and Infrastructure
        Heidi Gewertz, City Attorney's Office
        California Bank and Trust, 2399 Gateway Oaks Drive, Suite 110, Sacramento, CA, 95833
        U.S. Small Business Administration, c/o 1050 Iron Point Road, Folsom, CA, 95630
Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 31 of 45




                                 Exhibit D

           Summary Estimate of FDC’s Outstanding Obligations

Obligation                                    Amount        Payable To
FDC Loan - Arrearage                           $2,300,000      City
FDC Loan – Principal Balance                   $5,000,000      City
Property Taxes                                  $143,000       City
Utility Costs                                     $16,000      City
Deferred Land Payment for Commercial Parcel    $3,100,000      OCII
Yoshi’s Tenant Improvement Loan                $7,200,000      OCII
Common Area Maintenance Charges                 $295,000       OCII
                                      Total   $18,054,000
Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 32 of 45




                              Exhibit E

       Notice of Termination of Ground Lease dated June 5, 2015
          Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 33 of 45
Office of Community Investment                              EDWIN M. LEE, Mayor
             and Infrastructure
          (Successor to the San Francisco                                       Mara Rosales, Chair
                Redevelopment Agency)                                           Marily Mondejar
                                                                                Darshan Singh
            One South Van Ness Avenue                                           Miguel Bustos
               San Francisco, CA 94103
                          415.749.2400                                          Tiffany Bohee, Executive Director


   Sent via Certified Mail Return Receipt


                           NOTICE OF TERMINATION OF GROUND LEASE AND
                             THE RIGHT OF POSSESSION OF THE PREMISES
                                   FILLMORE HERITAGE CENTER



   June 5, 2015                                                                             108-0202015-004


  Michael Johnson
  Fillmore Development Commercial, LLC
  c/o UrbanCore Development, LLC
  4096 Piedmont Ave., Box 313
  Oakland, CA 94611

  Attn:     Michael Johnson
            Members


            Re:      Notice of Termination of Ground Lease Agreement entered into as of August 23, 2005,
                     by and between the Office of Community Investment and Infrastructure, as the Successor
                     Agency to the Redevelopment Agency of the City and County of San Francisco ("OCH"
                     or "Landlord") and Fillmore Development Commercial, LLC ("Tenant") (the "Ground
                     Lease") and Termination of Right of Possession

  Dear Mr. Johnson and Members of Tenant:

  NOTICE IS HEREBY GIVEN that, as of the date of this notice, the Ground Lease is terminated and all
  Tenant's rights of possession are terminated (the "Termination") pursuant to Ground Lease Section
  23 .1 (e), following the Event of Default occurring under the Ground Lease.

  Tenant received a Notice of Default from OCH, dated February 20, 2015, as attached hereto (the
  "Notice"), which Notice included, among other defaults, a default under Ground Lease Section 21.l(a),
  Failure to Pay Ground Rent Within Certain Time Period, which provides that Tenant must pay Ground
  Rent, in the manner prescribed in Section 2.2 of the Ground Lease, when due to Landlord within five (5)
  days after notice thereof from Landlord. Tenant failed to cure such default under Section 21. l (a) within
  five (5) from the date of receipt of the Notice and therefore an Event of Default has occurred under the
  Ground Lease. In addition, no cures have been made for any of the other defaults included in the Notice,
  and as such Notice is attached hereto, and accordingly all other defaults listed in the Notice remain
  outstanding as of the date of this Notice of Termination even though over three (3) months have passed
  since the Notice was sent, which time period extended far beyond the maximum five (5) day cure period
         Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 34 of 45
  Mr. Michael Johnson                                                June 5, 2015
  Members of Lessee                                                    Page 2 of2

  for a default under Section 21. l(a) and the maximum thirty (30) day cure period for the other defaults
  listed in the Notice;

  Please be advised that Ground Lease Section 23.l(g) provides that in the event Landlord terminates
  Tenant's right to possession of the Premises pursuant to Section 23 .1, Tenant waives all rights to recover
  possession under any rights of redemption, including,' without limitation, those rights under Ca. Code of
  Civil Procedure Sections 1174 and 1179.

 Please also be advised that Ground Lease Section 23 .2, Continuation of Subleases and Other Agreements,
 provides that following such Termination the Landlord has the right to take over all subleases as well as
 licenses and agreements, which rights include transfer of the existing liquor license from Tenant to
 Landlord. Accordingly, the Tenant is required to take steps to transfer the liquor iicense and all other
 licenses and agreements as requested by OCH. Accordingly, Tenant will be required to cooperate with
 OCH and respond in a timely manner to any requests from OCH to take steps necessary for Landlord's
 assumption of such licenses and agreements.

 Additionally, Article 24 of the Ground Lease provides that Tenant's liabilities and obligations arising
 under the Ground Lease prior to termination survive such expiration (the "Tenant Obligations"). Such
 Tenant Obligations include any outstanding Common Area Maintenance Charges or outstanding property
 tax owed to the City and County of San Francisco, in addition to any other outstanding Tenant
 Obligations. As of this date, Tenant owes approximately $143,000 in delinquent property taxes to the City
 and County of San Francisco, which amount includes the principal tax amount due and penalties, and
 approximately $45,000 in delinquent Common Area Maintenance Charges ("CAM Charges") to the
 Fillmore Heritage Homeowners Association pursuant to the terms of the REA. The current amount of
 delinquent CAM Charges is in addition to the approximately $250,000 of delinquent CAM Charges that
 OCH, as the legal owner of the Commercial Parcel, has already paid on behalf of the Tenant after
 numerous failed attempts to collect CAM Charges from the Tenant itself.

 We write this letter without waiving any rights.


. Office of Community Investment and Infrastructure, the Successor Agency to the Redevelopment Agency
  of the City and County of San Francisco, a public body, organized and existing under the laws of the State
  of California




 cc:     Olson Lee, Director, Mayor's Office of Housing and Community Development
         Heidi Gewertz, San Francisco City Attorney's Office
         California Bank and Trust, 2399 Gateway Oaks Drive, Suite 110, Sacramento, CA, 95833

 Attachment: Notice of Default dated February 20, 2015
           Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 35 of 45
          Office of Community                                                      EDWIN M. LEE, Mayor
Investment and Infrastructure
      (Successor to the San Francisco                                              Mara Rosales, Chair
            Redevelopment Agency)                                                  Marily Mondejar
                                                                                   Darshan Singh
         One South Van Ness Avenue                                                 Miguel Bustos
            San Francisco, CA 94103
                       415.749.2400                                                Tiffany Bohee, Executive Director



         Certified Mail Return Receipt a:nd Electronic Mail


                                        NOTICE OF EVENT OF DEFAULT
                                        FILLMORE HERITAGE CENTER


         February 20, 2015                                                                 108-0062015-004



         Fillmore Development Commercial, LLC
         c/o UrbanCore Development, LLC
         4096 Piedmont Avenue, Box 313
         Oakland, CA 94611

         mjohnson@urbancorellc.com

         Attn:    Michael Johnson
                  Members

                  Re:       Ground Lease Agreement entered into as of August 23, 2005, by and between the
                            Office of Community Investment and Infrastructure, as the Successor Agency to
                            the Redevelopment Agency of the City and County of San Francisco ("OCH")
                            and Fillmore Development Commercial, LLC ("Tenant") (the "Ground Lease")

         Dear Mr. Johnson and Members of Tenant:

         NOTICE IS HEREBY GIVEN that you are in default of your obligations under the following·
         sections of the Ground Lease:

              •   Section 21.1 (i), Abandonment of Premises Under Certain Conditions, which provides
                  that the Premises must not be abandoned or cease to be used for the uses permitted under
                  the Ground Lease.

                        o   Section 18.l of the Ground Lease requires that the Tenant "continuously use the
                            Premises for permitted uses and for no other purposes." As of January 14, 201 S,
                            Tenant closed the nightclub and ceased commercial activity in the nightclub
                            portion of the Premises. Previously, the sublease by and between the Tenant and
                            Yoshi's San Francisco, LLC (the "Sublessee"), dated as of May 6, 2005, was
                            terminated when the Sublessee ceased operations at the Premises on July 1, 2014
                            and the sublease was not assigned to a new operator.
Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 36 of 45

Mr. Michael Johnson                                                            February 20, 2015
Members of Lessee                                                                    Page 2 of3

           o . Section 18.2 prohibits certain uses on the Premises in the absence of the
               Landlord's consent. Information received from the property manager of the
               Fillmore Heritage Center indicates that the Tenant has been allowing the
               unauthorized and unmonitored use of the Commercial Parcel. OCH has not had
               the opportunity to review and/or consent to any of these activities, as required by
               the Ground Lease.

   •   Section 21.l (k), Failure to Comply with Lease Terms Under Certain Conditions (Waste).

           o    Section 8.1 of the Ground Lease requires the Tenant to covenant not to do or
                suffer any waste or damage, disfigurement or injury to the Premises. On January
                23, 2015, OCII was notified that the utilities serving the nightclub portion of the
                Premises had been turned off and the life safety system was operating on back-up
                battery. This action caused life safety, security, and liability concerns for both
                the Commercial Parcel and the Housing Parcel. At Landlord's request, the City
                and County of San Francisco has since restored the utilities under its emergency
                authority.

   •   Section 21.1 (k), Failure to Comply with Lease Terms Under Certain Conditions (Failure
       to pay hnpositions).

           ci   Section 4.1 of the Ground Lease requires the Tenant to pay all Impositions,
                which include, among other things, "any and all taxes on the assessed value of
                the Commercial Parcel" as well as "all assessment levied under the provisions of
                the Reciprocal Easement Agreement ("REA"). The Ground Lease further
                provides that the Tenant covenants to pay the Impositions before delinquency
                and before any fine, penalty, interest or cost is added ther~to for nonpayment. As
                of this date, Tenant owes approximately $145,000 in delinquent property taxes to
                the City and County of San Francisco, which amount includes the principal tax
                amount due and penalties, and approximately $37,400 in delinquent Common
                Area Maintenance Charges ("CAM" Charges) to the Fillmore Heritage
                Homeowners Association pursuant to the terms of the REA. The current amount
                of delinquent CAM Charges is in addition to the approximately $210,000 of
                delinquent CAM Charges that the OCII, as the legal owner of the Commercial
                Parcel, has already paid on behalf of the Tenant after numerous failed attempts to
                col.lect CAM Charges from the Tenant itself.

   •   Section 21.1 (a), Failure to Pay Ground Rent Within Certain Time Period, which provides
       that Tenant must pay any Ground Rent, in the manner prescribed in Section 2.2 of the
       Lease, when due to Landlord within five (5) days after notice thereof from Landlord.

          o     Section 2.2 of the Ground Lease provides that "Ground Rent will commence on
                the sixth (61h) year of the Commercial Term." The Commercial Term
                commenced in November 2007; accordingly, Ground Rent became due starting
                in November 2012. Tenant has paid no Ground Rent to date.


BE ADVISED THAT THE FAILURE TO COMPLY WITH THE COVENANTS OF THE
GROUND LEASE CONSTITUTES AN EVENT OF DEFAULT UNDER THE GROUND
LEASE. YOU ARE HEREBY NOTIFIED THAT YOU HAVE FIVE (5) DAYS FROM



                                                2
         Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 37 of 45
         Mr. Michael Johnson                                                              February 20, 2015
         Members of Lessee                                                                      Page 2of3

         THE DATE OF THIS NOTICE IN WHICH TO CURE THE DEFAULT UNDER
         SECTION 21.l(A) ABOVE AND THIRTY (30) DAYS FROM THE DATE OF THIS
         NOTICE IN WHICH TO CURE THE DEFAULTS LISTED UNDER SECTIONS 21.l(i)
         AND 21. l(k) ABOVE. UPON FAILURE TO CURE THE DEFAULTS, OCH INTENDS
         TO EXERCISE AVAil,ABLE REMEDIES UNDER THE GROUND LEASE,
         INCLUDING, BUT NOT LIMITED TO, TERMINATION OF THE GROUND LEASE.

         As a result of the above-described cessation of a Pennitted Use, the unauthorized use of a portion
         of the Commercial Parcel, and the compromise to the life safety system, on Februaiy 12, 2015,
         OCH notified the Tenant that it intended to take immediate action under Section 7.1 of the
         Ground Lease to secure the Commercial Space; subsequently, OCH had the Commercial Space
         rekeyed.                                             ,

         We write this letter without waiving any rights.



         Successor Agency to the Redevelopment Agency of the City and County of San Francisco,
         a public body, organized and existing under the laws of the State ofCalifornia




·,::

         cc:     Olson Lee, Director, Mayor's Office of Housing and Community Development
.   .:           Heidi Gewertz, City Attorney's Office
                 California Bank and Trust, 2399 Gateway Oaks Drive, Suite 110, Sacramento, CA,
                     95833
                 U.S. Small Business Administration, c/o 1050 Iron Point Road, Folsom, CA, 95630




                                                            3
Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 38 of 45




                              Exhibit F

        City Option to Assume Ground Lease dated June 5, 2015
          Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 39 of 45
Office of Community Investment                              EDWIN M. LEE, Mayor
             and Infrastructure
       (Successor to the San Francisco                                   Mara Rosales, Chair
             Redevelopment Agency)                                       Marily Mondejar
                                                                         Darshan Singh
         One South Van Ness Avenue                                       Miguel Bustos
            San Francisco, CA 94103
                       415.749.2400                                      Tiffany Bohee, Executive Director


   June 5, 2015                                                                    108-0212015-120


   Mr. Olson Lee
   Director
   Mayor's Office of Housing and Community Development
   1 South Van Ness Avenue, 5th Floor
   San Francisco, CA 94103

          Re:     Termination of Tenant's Ground Lease and Right of Possession for the Fillmore
                  Heritage Center Project and City Option to Assume Ground Lease

  Dear Olson:

  As you are aware, the Office of Community Investment and Infrastructure ("OCII" or
  "Landlord"), as the Successor Agency to the Redevelopment Agency of the City and County of
  San Francisco, issued a Notice of Event of Default on February 20, 2015 (the "Notice") to
  Fillmore Development Commercial, LLC (the "Tenant") under the Ground Lease Agreement
  entered into as of August 23, 2005, by and between the OCH and the Tenant, and as attached
  hereto (the "Ground Lease"). The Notice included a list of defaults and required that the Tenant
  cure such defaults within the applicable cure periods. As the defaults were not cured within the
  time period required, OCH issued a Notice of Termination of Ground Lease and Right of
  Possession of the Premises, dated June 5, 2015, pursuant to Ground Lease Section 23-.1, and as
  attached hereto (the "Termination Notice").

  Section 42.1 l(d) of the Ground Lease, provides that in the event of termination of the Ground
  Lease prior to expiration of the Commercial Term (as defined in the Ground Lease), the
  Landlord shall serve notice to the Mortgagee of the termination, including all amounts then due
  under the ground lease (as included in the Notice and Termination attached hereto), and the
  Mortgagee shall then have the option to assume the lease in accordance with the terms and
  conditions provided therein, as long as the Mortgagee exercises such option within thirty (30)
  days after receiving Mortgagee's request to assume the lease.

  As the City and County of San Francisco, acting through the Mayor's Office of Housing and
  Community Development (the "City" or "Mortgagee") is the only mortgagee of the leasehold
  through its Section 108 Loan Agreement with the Tenant, entered into as of August 29, 2005,
  and as amended by that certain First Amendment dated as of December 8, 2010, OCH is now,
  through this letter, providing notice to the City of the termination and requesting the City to
  indicate its interest, if any, in assuming the Ground Lease.
        Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 40 of 45
  Mr. Olson Lee                                                    June 5, 2015
                                                                     Page 2 of2

 Please be advised that Ground Lease Section 42.l l(f) allows the Landlord to also assign and
 transfer to the Mortgagee all subleases in effect at time of the execution of the assigned Ground
 Lease with the Mortgagee. In addition, Ground Lease Section 23.2 provides that following such
 termination the Landlord has the right to take over all licenses and agreements, which rights
 include transfer of the existing liquor license from Tenant to Landlord. Accordingly, OCH will
 require the Tenant to take steps to transfer the liquor license and all other licenses and
 agreements as requested by OCH or the City.

 Please indicate the City's interest in exercising its rights to assume the Ground Lease under
 Section 42.l l(d) of the Ground Lease by signing below and returning a signed copy to me.

 OCII looks forward to working with the City on preserving this valuable asset. Please contact
 me with any questions.




 OCII, Successor Agency to the Redevelopment Agency of the City and County of San Francisco,
 a public body, organized and existing under the laws of the State of California




  The City and County of San Francisco, acting through the Mayor's Office of Housing and
  Community Development, as Mortgagee of the Leasehold Interest of the Fillmore Heritage
  Center under the Ground Lease between OCII and Fillmore Development Corporation, LLC ,
  entered into as of August 23, 2005, does hereby agree to assume the Ground Lease pursuant to
· the terms and conditions of the Ground Lease.


                                                      Date:

 Olson Lee
 Director
 Mayor's Office of Housing and Community Development


 Attachment A: Notice of Termination of Ground Lease and Right of Possession of the Premises
           Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 41 of 45
Office of Community Investment                              EDWIN M. LEE, Mayor
              and Infrastructure
          (Successor to the San Francisco                                      Mara Rosales, Chair
                Redevelopment Agency)                                          Marily Mondejar
                                                                               Darshan Singh
            One South Van Ness Avenue                                          Miguel Bustos
               San Francisco, CA 94103
                          415.749.2400                                         Tiffany Bohee, Executive Director


   Sent via Certified Mail Return Receipt


                           NOTICE OF TERMINATION OF GROUND LEASE AND
                             THE RIGHT OF POSSESSION OF THE PREMISES
                                   FILLMORE HERITAGE CENTER



  June 5, 2015                                                                             I XX-XXXXXXX-004


  Michael Johnson
  Fillmore Development Commercial, LLC
  c/o UrbanCore Development, LLC
  4096 Piedmont Ave., Box 313
  Oakland, CA 94611

  Attn:     Michael Johnson
            Members


            Re:      Notice of Termination of Ground Lease Agreement entered into as of August 23, 2005,
                     by and between the Office ofCom:munity Investment and Infrastructure, as the.Successor
                     Agency to the Redevelopment Agency of the City and County of San Francisco ("OCH"
                     or "Landlord") and Fillmore Development Commercial, LLC {"Tenant") (thy "Ground
                     Lease") and Termination of Right of Possession

  Dear Mr. Johnson and Members of Tenant:

  NOTICE IS HEREBY GIVEN that, as. of the date. of this notice, the Ground Lease is terminated and all
  Tenant's rights of possession are terminated (the "Termination") pursuant to Ground Lease Section
  23 .1 ( e), following the Event of Default occurring under the Ground Lease.

  Tenant received a Notice of Default from OCH, dated February 20, 2015, as attached hereto (the
  "Notice"), which Notice included, among otherdefi!.ults, a default under Ground Lease Section 21.l(a),
  Failure to. Pay Ground Rent Within Certain Time Period, which provides that Tenant must pay Ground
  Rent, in the manner prescribed in Section 2.2 of the .Ground Lease, when due to Landlord within five (5)
  days after notice thereof from Landlord. Tenant failed to cure such default under Section 21.l{a) within
  five ( 5) from the date ofreceipt of the Notice and therefore an Event of Default has occurred under the
  Ground Lease. In addition, no cures have been made for any of the other defaults included in the Notice,
  and as such Notice is attached hereto, and accordingly all other defaults listed in the Notice remain
  outstanding as of the date of this Notice of Termination even though over three (3) months have passed
  since the Notice was sent, which time period extended far beyond the maximum five (5) day cure period
         Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 42 of 45
  Mr. Michael Johnson                                                June 5, 2015
  Members of Lessee                                                   Page 2 of2

  for a default under Section 21. l(a) and the maximum thirty (30) day cure period for the other defaults
  listed in the Notice;

 . Please be advised that Ground Lease Section 23.l(g) provides that inthe event Landlord terminates
   Tenant's right to possession of the Premises pursuant to Section 23 .1, Tenant waives all rights to recover
   possession under any rights of redemption, including; without limitation, those rights under Ca. Code of
   Civil Procedure Sections 1174 and 1179.

  Please also be advised that Ground Lease Section 23 .2, Continuation of Subleases and Other Agreements,
. provides that following such Termination the Landlord has the right to take over all subleases as well as
  licenses and agreements, which rights include transfer of the existing liquor license from Tenant to
  Landlord. Accordingly, the Tenant is required to take steps to transfer the liquor license and all other
  licenses and agreements as requested by OCH. Accordingly, Tenant will be required to cooperate with
  OCH and respond in a timely manner to any requests from OCH to take steps necessary for Landlord's
  assumption of such licenses and agreements.

 Additionally, Article 24 of the Ground Lease provides that Tenant's liabilities and obligations arising
 under the Ground Lease prior to termination survive such expiration (the "Tenant Obligations"). Such
 Tenant Obligations include any outstanding Common Area Maintenance Charges or outstanding property
 tax owed to the City and County of San Francisco, in addition to any other outstanding T~nant
 Obligations. As of this date, Tenant owes approximately $143,000 in delinquent property taxes to the City
 and County of San Francisco, which amount includes the principal tax amount due and penalties, and
 approximately $45,000 in delinquent Common Area Maintenance Charges ("CAM Charges") to the
 Fillmore Heritage Homeowners Association pursuant to the terms of the REA. The current amount of
 delinquent CAM Charges is in addition to the approximately $250,000 of delinquent CAM Charges that
 OCH, as the legal owner of the Commercial Parcel, has already paid on behalf of the Tenant after
 numerous failed attempts to collect CAM Charges from the Tenant itself.

 We write this letter without waiving any rights.


. Office of Community Investment and Infrastructure, the Successor Agency to the Redevelopment Agency
  of the City and County of San Francisco, a public body, organized and existing under the laws of the State
  of California




 cc:     Olson Lee, Director, Mayor's Office of Housing and Community Development
         Heidi Gewertz, San Francisco City Attorney's Office
         California Bank and Trust, 2399 Gateway Oaks Drive, Suite 110, Sacramento, CA, 95833

 Attachment: Notice of Default dated Februar}r 20, 2015
•·            Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 43 of 45

             Office of Community                                                    EDWIN M. LEE, Mayor
     Investment and Infrastructure
          (Successor to the San Francisco                                           Mara Rosales, Chair
                Redevelopment Agency)                                               Marily Mondejar
                                                                                    Darshan Singh
            OneSouth Van Ness Avenue                                                Miguel Bustos
              SanFrancisco, CA 94103
                            415.749.2400                                            Tiffany Bohee, Executive Director



            Certified Mail Return Receipt and Electronic Mail


                                            NOTICE OF EVENT OF DEFAULT
                                            FILLMORE HERITAGE CENTER


            February 20, 2015                                                                108-0062015-004



            ·Fillmore Development Commercial, LLC
           · c/o UrbanCore Development, LLC
             4096 Piedmont Avenue, Box 313
             Oakland, CA 94611

            mjohnson@urbancorellc.com

            Attn: · Michael Johnson
                    Members

                     Re:      Ground Lease Agreement entered into as of August 23, 2005, by and between the
                              Office of Community fuvestment and Infrastructure, as the Successor Agency to
                              the Redevelopment Agency of the City and County ofSan Francisco ("OCII")
                              and Fillmore Development Commercial, LLC (''Tenant"). (the "Ground Lease")

            Dear Mr. Johnson and Members of Tenant:

            NOTICE IS HEREBY GIVEN that yoµ are in default of your obligations under the following·
           .sections of the Ground Lease:

                •    Section 21.1 (i), Abandonment of Premises Under Certain Conditions, which provides
                     that the Premises must not be abandoned or cease to be used for the uses permitted under
                     the Ground Lease.

                           o Section 18.1 of the Ground Lease requires that the Tenant "continuously use the
                             Premises for permitted uses and for no otherpUrposes." As ofJanuary 14, 2015,
                                                                                        in
                             Tenant closed the nightclub and ceased commercial activity the nightclub
                             portion of the Premises. Previously, the sublease by and between the Tenant and
                             Yoshi's San Francisco, LLC (the "Sublessee"), dated as of May 6, 2005, was
                             terminated when the Sublessee ceased operations at the Premises on July 1, 2014
                             and the sublease was not assigned to a new operator;          ·
 Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 44 of 45

Mr. Michael Jolmson                                                            February 20, 2015
Members of Lessee                                                                    Page2 of3

           o Section 18.2 prohibits certain uses on the Premises in the absence ofthe
             Landlord's consent. lnfonnation received from the property manager of the
             Fillmore Heritage Center indicates that the Tenant has been allowing the
             unauthorized and unmonitored use ofthe Commercial Parcel. OCII has not had
             the opportunity to review and/or consent to any of these activities, as required by
             the Ground Lease.

   •   Section 21.1 (k), Failure to Comply with Lease Tenns Under Certain·Conditions (Waste).

           o Section 8.1 of the Ground Lease requires the Tenant to covenant not to do or
             suffer any waste or damage, disfigurement or injury to the Premises. On January
             23, 2015, OCII was notified that the utilities serving the nightclub portion of the
             Premises had been turned off and the life safety system was operating on back-up
             battery. This action caused life safety, security, and liability concerns for both
             the Commercial Parcel and the Housing Parcel. At Landlord's request, the City
             and County of San Francisco has since restored the utilities under its emergency ·
             authority.

   •   Section 21.1 (k), Failure to Comply with Lease Tenns Under Certain Conditions (Failure·
       to pay Iinpositions).

           ci    Section 4.1 of the Ground Lease requires the Tenant to pay all Impositions, ·
                 which include, among other things, "any and all taxes on the assessed value of
                 the Commercial Parcel" as well as "all assessment levied under the provisions of
                 the Reciprocal Easement Agreement ("REA"). The Ground Lease further
                 provides that the Tenant covenants to pay the Impositions before delinquency
                 and before any fine, penalty, interest or cost is added thereto for nonpayment. As
                 of this date, Tenant owes approximately $145,000 in delmquent property taxes to
                 the City and County of San Francisco; which amount includes the principal tax
                .amount due and penalties, and approximately $37,400 in delinquent Common
                 Area Maintenance Charges ("CAM" Charges) to the Fillmore Heritage
                .Homeowners Association pursuant to the terms of the REA. The current amount
                 of delinquent CAM Charges is in addition to the approximately $210,000 of
                 delinquent CAM Charges that the OCII, as the legal owner of the Commercial
                 Parcel, has already paid on behalf of the Tenant after numerous failed attempts to
                 col.lect CAM Charges from the Tenantitself.

  •    Section 21.l{a), Failure to Pay Ground Rent Within Certain Time Period, which provides
       that Tenant must pay any Ground Rent, in the manner prescribed in Section 2.2 of the
       Lease, when due to Landlord within five (5) days after notice thereof from Landlord.

          o Section 2.2 of the Ground Lease provides that ''Ground Rent will commence on
             the sixth (6th) year of the Commercial Term." The Commercial Term
            .commenced in November 2007; acco;rdingly, Ground Rent became due starting
             in November 2012. Tenant has paid no Ground Rent to date.


BE ADVISED THAT THE FAILURE TO COMPLY WITH THE COVENANTS OF THE
GROUND LEASE CONSTITUTES AN EVENT OF DEFAULT UNDER THE GROUND
LEASE. YOU ARE HEREBY NOTIFIED THAT YOU HAVE FIVE (5) DAYS FROM


                                                 2
  Case 3:18-cv-06830-RS Document 131-4 Filed 04/28/21 Page 45 of 45

 Mr. Michael Johnson                                                           February 20, 2015
 Members of Lessee                                                                     Page 2 of3

 THE DATE OF THIS NOT.ICE IN WHICH TO CURE THE DEFAULT UNDER ..
 SECTION 21.l(A) ABOVE AND THIRTY (30) DAYS FROM THE DATE OF THIS
 NOTICE IN WHICH TO CURE THE DEFAULTS LISTED UNDER SECTIONS 21.l(i)
 AND 21. l(k) ABOVE• UPON FAILURE TO CURE T.JIED].iFAULTS, OCII INTENDS
 TO EXERCISE AVAILABLE REMEDIES UNDER THE GROUND LEASE,
 INCLUDING, BUT NOT LIMITED TO, TERMINATION OF THE GROUND LEASE.

 As a result of the above-described cessation of a Permitted Use, the unauthorized use of a portion
 of the Commercial Parcel, and the compromise to the life safety system, on February 12, 2015,
 OCH notified the Tenant that it intended to take immediate .action under Section 7.1 ofthe
 Ground Lease to secure the Commercial Space; subsequently; OCH had the Commercial Space
 rekeyed.                                             ·      · ·

 We write this letter without waiving any rights.



 Successor Agency to the Redevelopment Agency of the City and County of San Francisco,
 a public body, organized and existing :under the laws of the State ofCalifornia


· ·. ffany Bohee
· · xecutiveDirector



         Olson Lee, Director, Mayor's Office of Housing and Community Development
         Heidi Gewertz, CityAttof1ley's Office              .                    ·
         California Bank and Trust, 2399 Gateway Oaks Drive, Suite 110, Sacramento, CA,
             95833
         U.S. Small Business Administration, c/o 1050 Iron Point Road, Folsom, CA, 95630




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